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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              March 5, 2024
6       ROMAN STERLINGOV,
                                                              9:38 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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1                                P R O C E E D I N G S
2                   THE COURTROOM DEPUTY:      This is 21-399, United States

3       of America versus Roman Sterlingov.

4                   Would counsel please approach the podium and state

5       your name for the record, starting with the government?

6                   MS. PELKER:    Good morning, Your Honor.         Alden Pelker

7       for the United States, joined at counsel table by Christopher

8       Brown and Jeff Pearlman.

9                   THE COURT:    Good morning.

10                  MR. EKELAND:    Good morning, Your Honor.         Tor Ekeland

11      for Defendant Roman Sterlingov, who is present in court.              And

12      joining me at counsel table is Michael Hassard.

13                  THE COURT:    Good morning to you.

14                  Anything to raise before we get the jury?

15                  MS. PELKER:    One brief point, Your Honor, on the

16      scope of Mr. Fischbach's testimony.         And I understand he is in

17      the room.    I have spoken with Mr. Ekeland.          I think it may just

18      be easier to have him here to avoid any sort of confusion like

19      where we had with Mr. Verret, about what is and isn't

20      permitted.    In the prior Daubert hearings, defense had

21      previously included a point in their disclosure regarding

22      evidentiary handling.      And the Court had ruled that

23      Mr. Fischbach should not be permitted to testify regarding that

24      point.    I think it was number 20 of the disclosure.            Given that

25      there is no evidence that Mr. Fischbach has any sort of
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1       training or expertise in FBI evidence handling procedures.              We

2       understand that this proposed line of testimony relates to the

3       drive that IRS provided to FBI with the images.               And defense

4       wants to make some sort of an argument about whether or not it

5       should have been assigned a separate 1B number.               And we just --

6       we don't think it is relevant, but we certainly don't think

7       that Mr. Fischbach has the expertise to discuss what would or

8       would not have been proper FBI procedures for assigning a 1B

9       number and how they did this review.            And I think the Court had

10      already ruled on this issue.

11                  THE COURT:    So I am maybe looking at a different

12      version of the disclosures, because my number 20 is different

13      than that.    I am looking at docket 166, is the one that I had

14      in front of me when I was ruling.

15                  MS. PELKER:    And, Your Honor, I have -- if you look

16      at the transcript from September 7th and September 8th, it was

17      referenced as item number 20.

18                  THE COURT:    Let's see.

19                  MS. PELKER:    But I believe the quote there from the

20      Court was from September 8.          And then the final thing was about

21      whether he could testify as to point 20, which was with respect

22      to inventory conducted by the FBI.           "And having reviewed his

23      testimony and the submission to the Court, there is just not

24      any evidence in front of me that he has any expertise on the

25      topic.    So absent something more, I am not inclined to allow
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1       that testimony."

2                   THE COURT:    I am not sure which one that was meant to

3       refer to.    I am looking at the supplemental disclosures, but

4       they are supposed to have everything, I think.

5                   MS. PELKER:    It might have been -- looking at 145,

6       which was the unsigned.      I believe it is, "He will testify to

7       the issues in Valerie Mazars de Mazarin's device report and

8       related documentation provided by the government."             And that it

9       was explained in the hearing that was in reference to the 1B

10      number.

11                  THE COURT:    That is 20, but it says, "He will testify

12      to the issues of Valerie Mazars de Mazarin's device report and

13      related documentation provided by the government."

14                  That is about --

15                  MS. PELKER:    Our understanding is that is about

16      inventory numbering.

17                  THE COURT:    And then can you read to me what I said

18      at the hearing on that?

19                  MS. PELKER:    This is the transcript, so there were

20      two references, one on September 7th at 179 and one on

21      September 8th at 120, both saying more or less the same thing.

22      On September 8th you said, "And then the final thing was about

23      whether he could testify as to point 20, which was with respect

24      to the inventory conducted by the FBI and having reviewed his

25      testimony and his submission to the Court, there is just not
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1       any evidence in front of me that he has any expertise on the

2       topic.    So absent something more, I am not inclined to allow

3       that testimony."

4                   In the date prior, there had been a discussion

5       about -- there was some suggestion that this was a missing

6       device or an extra device.       And the Court had said that if he

7       wanted -- if Mr. Ekeland wanted to point out to the jury that

8       you have three devices on this list and four on this list,

9       without an explanation, that wouldn't be expert testimony.            But

10      at that transcript on September 7th, the quote is, "And with

11      20, I guess I still have a question as to exactly what it is

12      that Mr. Fischbach would testify to.          I am not convinced at

13      least at this point, that he does have sort of expertise on how

14      the FBI usually goes about inventorying material at a time of

15      arrest.    And to the extent that he is simply saying there were

16      three devices that were seized and four that show up all of a

17      sudden, that strikes me as something that is in the core

18      competence of the jury."

19                  THE COURT:    All right.    Let me hear from Mr. Ekeland

20      on this.

21                  MR. EKELAND:    We are not intending to elicit

22      testimony from Mr. Fischbach about the FBI's inventory

23      numbering system.      What we are intending on eliciting testimony

24      about is the fact that that 6 terabyte BitLocker encrypted

25      drive doesn't appear on Government Exhibit 112, which is the
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1       list of items seized from Mr. Sterlingov at the airport.                 And

2       that it does appear on Ms. Mazars' inventory list which is in

3       evidence as Defendant's Exhibit number 32.             And we do intend to

4       just ask him if he heard Ms. Mazars' testimony and what his

5       understanding of -- what is on the hard drive and just what his

6       forensic opinion is in relation to that item.             So in terms of

7       him testifying as an expert as just the inventory practices of

8       the FBI, I am not intending to elicit testimony on that point.

9       I am intending on asking him, questioning him about the 6

10      terabyte drive.       The fact it didn't appear on the inventory

11      list seized at the airport and his understanding of Ms. Mazars'

12      testimony about it, as well as what she wrote about that drive

13      on Defendant's Exhibit 32.

14                  THE COURT:     Ms. Pelker.

15                  MS. PELKER:     The concern -- first, the government has

16      never said or argued that this was a drive that was seized from

17      the defendant at the airport.         I think we have been clear about

18      what this is.

19                  THE COURT:     Well, tell me what it is.

20                  MS. PELKER:     It is simply -- IRS imaged all of the

21      devices.    Then when they were doing the evidence transfer so

22      that everyone could have a copy of what had been provided, they

23      then burned all of the images that IRS had already made of the

24      defendant's devices that were seized at the airport onto a

25      drive and gave that to the FBI along with the images.                  And that
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1       is what Ms. Mazars testified to.        It is in evidence because the

2       drive does contain the images from the defendant's devices, but

3       they are just the working images that IRS or copies of the

4       images that IRS had made.      And to the extent that Mr. Fischbach

5       wants to offer some sort of a forensic opinion about where it

6       was included on the list, I don't know what that opinion is.

7       It hasn't been disclosed and I don't know what the basis would

8       be for it.

9                   MR. EKELAND:    Mr. Fischbach was present when

10      Ms. Mazars testified about what that drive was and what was on

11      it.   And that was the first time that we had heard those

12      representations about what was on the drive is when she

13      testified about it.      And what we are seeking to do is elicit

14      testimony from Mr. Fischbach as to his understanding what

15      Ms. Mazars testified to in relation to what is on the drive,

16      because we are not -- we are not stipulating to what the

17      government is representing about what was on this drive and

18      what, if any, attempts that Mr. Fischbach made to examine it

19      and what he thinks about what Ms. Mazars said.            That isn't in

20      any way related to the FBI's inventory practices.

21                  That is squarely in his review of the devices and is

22      evaluating the testimony that he heard from Ms. Mazars who,

23      again, for the first time, made representations about that

24      drive that we hadn't heard before.         And she testified on the

25      stand that she had reviewed that drive.           But if you look at
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1        Defendant's Exhibit number 32, it also says on it, did not

2        review because it was encrypted.        And given the testimony that

3        the government has elicited at this trial regarding encrypted

4        drives, we think it is an important issue to raise in front of

5        the jury and try to bring some clarification to.

6                   MS. PELKER:     Your Honor, we were clear with defense

7        counsel after they attempted to sandbag us with the supposed

8        issue at the last Daubert hearing that we ran it down and we

9        were able to later that day determine what this was.              And we

10       produced to defense the FBI log that very clearly has the 1B13

11       entry for this and explains the history of the evidence

12       transfer and has it described as the copy of images from the

13       IRS, alongside all of the other 1B numbers.            And to the extent

14       that Mr. Ekeland intends to elicit testimony from Mr. Fischbach

15       regarding his attempts to review it, that sounds like an

16       attempt to air discovery related disputes where defense earlier

17       last week, asked -- I believe asked whether we would be able to

18       pull the device out of storage from Mr. Fischbach to look at.

19       And we expressed confusion and explained, yet again, this was

20       simply a derivative evidence item.        It wasn't original evidence

21       that is why it wasn't brought over to the Court, because we

22       were never saying that this was Mr. Sterlingov's device.

23                  And Ms. Mazars was very clear, this was not her

24       official, final report.      It was a working kind of summary that

25       would jog her memory of different items.             She just exported
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1        what the different 1B numbers were and wrote notes next to

2        them.   This is not some sort of indication that this was a

3        device seized by Mr. Sterlingov.        The government is not

4        claiming it was.

5                   MR. EKELAND:     Your Honor, we are entitled to examine

6        those devices and testify about what Ms. Mazars put on her

7        list.   And when she testified, she said that -- I believe she

8        said that she had reviewed the contents on that drive, but

9        Defendant's Exhibit 32 says it is BitLocker encrypted drive

10       that she did not review.

11                  THE COURT:    I'm sorry, just to back up here a second,

12       the problem I am having -- and I have to admit, if the concern

13       is confusing the jury, you have confused the judge, because I

14       am still not sure exactly what is going on here.            Because there

15       was talk about whether it was on the FBI inventory or not and

16       suggesting maybe it was manufactured out of thin air or

17       wasn't -- and so I am confused about that.           But I am still

18       confused about what the expert opinion is that is being

19       offered.   An expert shouldn't be offered to simply make

20       argument to the jury that you can make in your closing about

21       the testimony or cross-examination of other witnesses.                So the

22       question I have for you is just what is the expert opinion that

23       he is going to offer?

24                  MR. EKELAND:     What his understanding of what is on

25       the drive, whether he has been able to examine it and
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1        confirm --

2                    THE COURT:   Back up a second.       Whether he has been

3        allowed to examine it, doesn't that get into just the issue

4        that Ms. Pelker just raised?        I mean, if you are suggesting

5        that there has been some problem with whether the government

6        has provided him access to it, that is an issue and I will --

7        if I need to, I will correct it to the jury and will say it was

8        available to the defense all along and they didn't seek to

9        examine it.    So don't mislead the jury in that regard.

10                   MR. EKELAND:    I am not trying to mislead the jury,

11       but it is my understanding the government -- we have asked.                I

12       do not -- Mr. Fischbach has been talking about this for the

13       last week or two.     We have asked to physically see the drive.

14       But I think what we want to elicit the testimony on is simply,

15       see if -- he was there and he heard the testimony and he heard

16       Ms. Mazars' testimony --

17                   THE COURT:   Testimony of what?

18                   MR. EKELAND:    Ms. Mazars' testimony about the drive.

19                   THE COURT:   About what?

20                   MR. EKELAND:    If he thinks that is consistent with

21       what is represented on the device list, which she said she

22       reviewed.    And it is named Sterlingov device list and compare

23       that list to the inventory and just what his understanding of

24       it is.   And from a forensic viewpoint whether that is -- you

25       know, in his opinion, a sound forensic approach to handling
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1        this kind of evidence.      Because we do submit this is -- it is

2        important for the jury to see how evidence and how things were

3        handled in this case, because there is --

4                    THE COURT:   But I am still confused.         You have got to

5        back up for a second.      I am confused.     I am not sure what the

6        point is that you would like to make to the jury.             Because you

7        keep shifting things.      Expert testimony of what is on the

8        device, fine.    If he has examined the device and he has used

9        his technology or expert skills to examine what is on the

10       device.   And I mean, I am a little bit in the dark here because

11       I don't really understand this.        But if he were to say, for

12       example, the government said this was on the device, I looked

13       at what was on the device, it was encrypted.           The government

14       couldn't possibly have done that.        That seems like fair expert

15       advice.   I looked at it, it was encrypted, you couldn't examine

16       it.   I am just confused, frankly, as to what is the expert

17       opinion you want to offer here.

18                   MR. EKELAND:    I just was going to ask him about that

19       drive, his review of the inventory list.

20                   THE COURT:   But you are -- you are not answering my

21       question.    My question isn't -- I am just going to ask -- are

22       you going to ask him about the drive?         My question is, what is

23       the expert opinion that you are seeking to elicit?

24                   MR. EKELAND:    I am going to ask him his opinion of

25       whether -- if he thinks it is an important fact that that drive
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1        is represented as encrypted and that Ms. Mazars stated in her

2        report that she could not review it and whether or not that is

3        consistent with her testimony.       What we don't --

4                   THE COURT:    No, that is argument though.

5                   I'm sorry.    Let me finish.

6                   MR. EKELAND:     Yes, Your Honor.

7                   THE COURT:    My question still is, what is the expert

8        opinion?   Is the expert opinion that there was -- he is

9        familiar with the proper standards for handling evidence?

10       Which gets back to the Daubert issue perhaps.            But he is

11       familiar with those standards and those standards were violated

12       here?   Or his opinion is, that it wasn't possible to look at

13       what is -- what is on the device?        I just -- if it is, did you

14       hear her testimony and does that help or hurt the government's

15       case?   That is just argument.      So I am still -- I am really

16       trying -- I am not trying to foreclose you from doing this

17       here.   I am just trying to understand what the expert opinion

18       is that you are trying to offer.

19                  MR. EKELAND:     Whether or not Ms. Mazars'

20       representation of that drive is consistent with what he knows

21       about that drive.

22                  THE COURT:    So why don't you ask him what he knows

23       about that drive and get that into evidence?           And you can offer

24       that and you can then -- if Ms. Mazars testified to something

25       different, you can then argue to the jury and say, you heard
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1        from our expert the following, you heard from the government's

2        witness the following and what he described is inconsistent

3        with what she said and you should reject what she said.               I am

4        just not sure what the expert opinion is about saying, did you

5        hear what she said?     I mean, he can offer an expert opinion

6        about what is on the drive and what he saw on the drive.

7                   MR. EKELAND:     Can -- I'm sorry, Your Honor.

8                   THE COURT:    Go ahead.

9                   MR. EKELAND:     So can he ask is -- what his

10       understanding of what Ms. Mazars said is consistent with what

11       is -- his understanding of what is on the actual drive, what

12       the drive is?

13                  THE COURT:    Ms. Pelker, any problem with that?

14                  MS. PELKER:     I don't think he has a basis for it is

15       part of the issue.

16                  THE COURT:    Well, maybe that is cross-examination.

17       And if you think it is just wrong in that regard, if he is

18       mistaken about that or -- and if it is misstating the evidence,

19       you can raise an objection with respect to that if it is based

20       on a misstatement of the evidence.

21                  MS. PELKER:     I do want to avoid this turning into an

22       airing of some sort of a late discovery -- not a late discovery

23       but a discovery dispute coming out before the jury.

24                  THE COURT:    Fair enough.      So I will allow the

25       examination about what is on the drive, how he examined the
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1        drive or what he believes is on the drive.

2                   MS. PELKER:     I think that --

3                   THE COURT:    Go ahead.

4                   MS. PELKER:     Apologies, Your Honor.        Mr. Fischbach

5        has not examined the drive, which is --

6                   THE COURT:    So I guess has he examined a download of

7        the drive -- a copy of the drive?        I mean, I know it was given

8        to the defense and they think they put it on to their system or

9        they may have put it on their system.

10                  MS. PELKER:     So, Your Honor, this is actually

11       different.    This is -- this is basically -- so there are 1B

12       numbers for the individual items and their images.

13                  THE COURT:    Right.

14                  MS. PELKER:     Then what the IRS did is they took all

15       of those images and put all of them as a working copy onto one

16       hard drive to give to FBI, along with the individuals.                And so

17       this is simply a copy of -- like a consolidated copy of

18       everything that was already provided individually.             And because

19       it was being transferred from one agency to another, IRS to

20       FBI, it got entered as an item.        But it is, in fact, just a

21       drive containing the -- I will have the numbers wrong here, but

22       1B1 through 11.      And so it is not a separate piece of evidence.

23                  Mr. Fischbach has been able to review all of the

24       images that are on that drive.

25                  THE COURT:    I guess I am still sort of back -- I
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1        truly am not trying to be difficult here.             I don't understand

2        what the proposed testimony is.

3                   MR. EKELAND:     Your Honor, we have not -- to the

4        extent that the government is saying that we have gotten images

5        from that drive, I think what we are saying is we have gotten

6        images of the evidence from Mr. Sterlingov's devices seized at

7        the airport.    As for that actual drive, that actual drive even

8        if it does contain images of everything that was seized at --

9        you know, when Mr. Sterlingov was arrested, we haven't been

10       able to examine or gotten, is my understanding, an image of

11       that actual drive.     So what the question is -- the government's

12       representation may be true.         But we haven't been able to check

13       that.   And we found it curious that it was listed on

14       Ms. Mazars' Sterlingov devices reviewed and wasn't described as

15       an IRS or FBI, you know, hard drive listing all of the images

16       of the evidence.     What it looked like when we first read it,

17       which is what attracted us -- brought our attention to it in

18       the first place was, well, here is a 6 terabyte encrypted drive

19       that she writes in the -- in her exhibit in her list that she

20       cannot review it.     And then when she got up on the stand, if I

21       am recalling her testimony correctly, she said she did review

22       it because it just contained all of the evidence that, you

23       know, they image in the summary drive.

24                  So that is what is I think at the root of what we are

25       wondering about here, because that just sort of goes to I think
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1        just a potential evidentiary issue on how things are being

2        handled.    But I understand the Court's concern.          We are not

3        trying to go into something about the FBI's inventory numbering

4        system or anything.      I think the Court -- I hope the Court

5        understands why we are curious about this drive.

6                    THE COURT:   I get -- well, I am a little -- I think I

7        am remembering the portion of the examination where you crossed

8        her on this.    And Ms. Pelker I think was -- I can't remember --

9        I think it was Ms. Pelker who then came back on redirect and

10       the witness then clarified she just made a list of anything --

11       it wasn't an exhibit list or a list of items -- it was just

12       sort of her working document of what she had and/or what she

13       was looking at.      That is my recollection of what happened

14       during the examination.      And so I guess I am still just puzzled

15       as to what expert opinion it is that Mr. Fischbach has to offer

16       about it.    I think you are entitled to argue to the jury

17       whatever you want about that and it is suspicious in some way,

18       I suppose.

19                   But I just -- I am still at a little bit of a loss

20       other than just to sort of asking him to make your argument and

21       saying that, you know, you heard her testimony, what do you

22       think about it?      There has to be some expert opinion where he

23       is qualified as an expert in that rather than it just seems odd

24       to me.

25                   MR. EKELAND:    That goes back to the question, the
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1        government -- I asked before and now I am just blanking if I

2        got an answer on or not is whether or not I can ask him if what

3        his understanding of the drive is and if that is consistent

4        with what he heard Ms. Mazars testify as to what her

5        understanding of the drive was.

6                   THE COURT:    How can he have an understanding of the

7        drive other than what she said if he hasn't looked at it?

8                   MR. EKELAND:     Because he can have an understanding

9        based on that it was represented in Defendant's Exhibit number

10       32 as BitLocker encrypted drive and she had written that she

11       did not review.      To the extent -- I mean, I guess the Court is

12       not saying the -- is the Court saying we can't elicit any

13       testimony about his attempts to review this drive?             The

14       government --

15                  THE COURT:    If you want to do that, I am -- you know,

16       it is opening a very strange door for a jury to get into the

17       back and forth between counsel.        But it is not a one-way

18       street.   And if -- you know, you want the government to say,

19       look, we told Mr. Ekeland ten times he could come look at this

20       or whatever and he just never showed up or whatever it might

21       be, I don't know what the answer is.         I just -- I mean, I am

22       not sure I see the relevance of this.         I mean, if he needs to

23       look at it, that is a question for the Court.

24                  And someone should come to me and tell me that he

25       needs to look at this and make an argument to me as to why he
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1        needs to look at it.      I am just not sure why that is an issue

2        for the jury.

3                     MR. EKELAND:   Perhaps we should just go to his direct

4        and I will be careful in that area.         And I will, you know, be

5        sensitive that the government may object.            And because I

6        don't -- I don't want to consume -- this is not necessarily a

7        hill I need to die on, so to speak.

8                     THE COURT:   Okay.

9                     MR. EKELAND:   But we -- Ms. Pelker and I spoke this

10       morning and we just wanted to flag the issue before the Court

11       before we started.

12                    THE COURT:   Are we ready to get the jury?

13                    Okay.   Let's get the jury.

14                    (Jury in at 9:46 a.m.)

15                    THE COURT:   All right.    And the witness can come back

16       to the stand.

17                       JEFFREY FISCHBACH, previously sworn.

18                    THE COURT:   Mr. Ekeland, you may continue when you

19       are ready.

20                    MR. EKELAND:   Thank you, Your Honor.

21                            DIRECT EXAMINATION CONTINUED

22       BY MR. EKELAND:

23       Q.    Good morning, Mr. Fischbach.       Are you ready?

24       A.    Yes.   Good morning.

25       Q.    What materials if any have you reviewed in order to form
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1        your opinions in this case?

2        A.    Well, I believe I reviewed everything in -- actually I

3        know I reviewed everything that is entered as an exhibit in the

4        case.    I have certainly gone over all of that.           There are a

5        number of other items I don't think have been entered as

6        exhibits, but hopefully since I have had access to the entire

7        case file, hopefully I have seen everything.            Not everything is

8        meaningful to me, but I think I have seen everything.

9        Q.    And have you done any independent research?

10       A.    I have, yes.

11       Q.    And what type of independent research did you do?

12       A.    Well, I used Google which is kind of always my first go

13       to.   But I have also used The Wayback Machine, which is

14       archive.org extensively in the case.

15       Q.    Did you --

16       A.    I'm sorry.     I have also used the -- I think you guys have

17       heard as ARIN, the database specifically devoted to domain

18       names.   And I have used another website.            I have to look to see

19       the exact naming of it.      But it is a website that works very

20       much like archive.org, except it keeps historical databases of

21       DNS, which we discussed yesterday.        So it just lets me see what

22       changes have happened in DNS over the years for a particular

23       website.

24       Q.    Could you just briefly explain to the jury what

25       archive.org and The Wayback Machine is?
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1        A.    Sure.   They are one and the same.        The actual domain name

2        is archive.org.      They call it The Wayback Machine.         And that is

3        how most people refer to it.        Basically what it does is it is a

4        historical archive.     It is free.     It is a nonprofit much like

5        Craigslist or Wikipedia.      And what it is doing is it is

6        constantly searching the internet and making copies of websites

7        for years and years and years and you can actually go back and

8        hit a slider and see how -- you could look and see how Google

9        started out or what Amazon used to look like when it only sold

10       books, that sort of thing, so travel through time.             But it is

11       useful forensically.     I was introduced to it before I saw it

12       used forensically.     But I have seen it now used for a very long

13       time by law enforcement for the same purpose.

14       Q.    And did you also use any ICANN domain tools?

15       A.    Yes.    That was the other one that I had first described.

16       ICANN is where I did the specific domain name search, which

17       allowed me to see what was still active when it was registered,

18       when it has been updated, when it has been paid, most recently

19       been paid.    And I went to ICANN specifically.          There is a lot

20       of places you can go, but what I like to do as a matter of

21       practice when another witness uses a particular tool, since

22       they are all available to me, I prefer to go to the same tool

23       that the government is using, just so I am getting similar

24       information.    I will independently check something else to see

25       if it is different.     But if it is the same, I would rather rely
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1        on the same tools for the simplicity of trial so everybody is

2        speaking the same language.

3        Q.    When were you able to see the government's witnesses

4        testify in this case?

5        A.    I did, every single one.

6        Q.    Do you use public Wi-Fi?

7        A.    Well, I use it, but not without a VPN.          I would never --

8        well, I am connected to the Wi-Fi here on all of my devices but

9        they are all using a VPN.

10       Q.    Why do you use a VPN?

11       A.    Well, basically because I know what I have done in the

12       past.   I know what I could do.      And I am the guy who has -- I

13       took a radio station there to do it as part of an interview.               I

14       sat there with Martin Kaste I think from NPR and basically

15       showed him, as we sit at a Starbucks I can see what everyone is

16       doing on the network.      I can see your email.       I can see what

17       information people are passing through as what they call

18       packets, using what is called a packet sniffer.            And with a

19       VPN, what it does is it encrypts everything to another point

20       before it exposes that information.

21       Q.    And is VPN difficult to use?

22       A.    No.   It is built into every iPhone, every Android phone

23       today, Macintosh operating system has it built in as does

24       Windows.    You just have to subscribe to something.           And

25       actually there is --
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1              I'm sorry.     I will slow down a little bit.

2              There is actually a lot of browsers now that actually come

3        with a free VPN as part of the browser, not just specifically

4        Tor, but I think the Opera browser, for example, I think last I

5        checked actually comes with a built-in VPN that you can just

6        flip a switch and turn it on and it is free.

7        Q.    And when multiple people use a VPN service, do they each

8        get their own IP address?

9        A.    No.   No, not at all.    There may be more than one IP

10       address at a particular VPN depending on how large they are.

11       But they are sharing.      Everyone is sharing IP addresses.

12       Q.    And what about on -- do you know what corporate VPN is?

13       A.    Absolutely.    I had to examine them as part of my cases.

14       Q.    What is just a corporate VPN?

15       A.    It is basically the same thing that I am describing but

16       the purpose is a little bit different.          So if you work for a

17       company that either in the past, it was because they used

18       sensitive information.      So, for example, as a law firm, any

19       lawyer because they are required to protect all of the data and

20       keep it privileged, any lawyer should only be reaching their

21       office network via VPN.      Because, obviously, if you are sitting

22       at Starbucks, someone like me could see your entire case file

23       as you are reviewing.      I can't necessarily without hacking

24       wouldn't get into your computer, but I can see what you are

25       sending and what you are reading.
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1              So what the corporate VPNs have done is they have just

2        assigned that to their employees.        And the only way to get into

3        that corporate network is by connecting to the VPN with the

4        password that you were assigned.        So it is not the same as just

5        a general VPN that the rest of us would use.

6              And I do use one for my company for that as well.

7        Q.    And did you hear the testimony from the witnesses about

8        proxy servers?

9        A.    Yes, I did.

10       Q.    And is it -- can you just explain to the jury what a proxy

11       server is?

12       A.    Well, it is similar to what we were talking about.              The

13       differences -- I would -- it would actually be easier to take

14       it the other way.     So a VPN is basically, in the simplest

15       terms, an encrypted proxy server.        So a proxy server is you are

16       using some other IP address, as I described yesterday.                You are

17       using someone else's, what we refer to as an end point.               So you

18       will see that IP address.      And they are used for all different

19       reasons.   So proxies by themselves can have a lot of different

20       functions.    But a VPN is basically an encrypted proxy.              So if

21       you take out the encryption, that is -- it is VPN minus the

22       encryption.

23       Q.    Do corporations use proxy servers?

24       A.    Absolutely.

25       Q.    Why do they use them?
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1        A.    Well, it depends.     I mean, there are a lot of reasons,

2        probably more than beyond what we need to talk about here.

3        But, for one thing, it does help to have a presence in --

4        effectively like to load balance, to have your system available

5        geographically closer.      Because even though the internet feels

6        very quick to us, a lot of what is here today, has a lot to do

7        with the fact that the internet was not always -- when I

8        started with the internet, decades and decades ago, it was

9        really, really slow.     So for, you know, one purpose of proxy is

10       to protect your network like a shield.          Another is to what we

11       call load balance to basically have end points at different

12       locations.    Like a company like Amazon would use that because

13       they are selling all over the world.         And you just don't want

14       to depend on something getting back to Seattle where they are

15       headquartered necessarily from Germany.          So they will set up

16       proxy end points.

17       Q.    And is it possible for thousands of people to use a VPN

18       service at the same time?

19       A.    Oh, absolutely.    I don't -- I don't know the exact scale,

20       but just doing my own, you know, napkin math of what I pay, I

21       don't see how a VPN could survive without thousands of users.

22       Q.    Is it possible if thousands of people are using a VPN

23       service at the same time they are all sharing the same IP

24       address at the same time?

25       A.    Absolutely.    I tested that myself and that is the case.            I
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1        mean, I can't test everybody's, but I have done multiple VPN

2        connections as a controlled test and had them all end up with

3        the same IP address.

4        Q.     Is the same thing true of proxy servers, if thousands of

5        people are using a proxy server, they can all be sharing the

6        same IP address at the same time?

7        A.     Absolutely.

8        Q.     And did you hear Ms. Mazars' testimony about her IP

9        address analysis?

10       A.     I did.

11       Q.     If you saw two user names logged in to the same IP address

12       at relatively the same time, would you conclude that they were

13       the same person?

14       A.     Well, I wouldn't make any conclusion until I actually

15       looked up that IP address to find out what sort of service it

16       was.   So my conclusion might arise from that if that provides

17       enough information.

18       Q.     And did you have a chance to look at her analysis?

19       A.     Yes, I did.

20       Q.     Do you agree with her conclusions?

21       A.     Gosh, I don't want to make a blanket statement that I

22       don't agree with any of her conclusions.             She may have had some

23       that maybe I did agree with, if you are referring to the

24       time -- I think, it was called overlap.          I reject the word

25       overlap.   That is not what was occurring in most of those
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1        connections, if any.

2        Q.    Are you familiar with the Tor network?

3        A.    Very familiar, yes.

4        Q.    What does that stand for?

5        A.    It is The Onion Router.

6        Q.    Do you use a Tor browser?

7        A.    Frequently.

8        Q.    Where do you use your Tor browser on your laptop?

9        A.    Laptop, desktop.     I got -- well, actually I have got a

10       copy on my phone right now.         I will use it anywhere.

11       Q.    And what do you use it for?

12       A.    Well, primarily my initial use of the Tor browser was

13       really for the reason that the Navy distributed in the first

14       place is that the Tor browser becomes more robust as more of us

15       are using it.    It makes it -- it is -- now that I have heard

16       all of the testimony about a mixer, it is very much like that.

17       The idea is it is sort of like a mixer but for your data.              It

18       is what we call security through obscurity.

19             So most of the time people think of security as like a

20       password.    But in reality, I think we all know by now because

21       all of our Social Security numbers have been -- I am pretty

22       sure everyone in this room has had their Social Security number

23       leaked at this point.      We know a password isn't sufficient

24       enough.   And we know that anything that has a key can be

25       broken -- can be broken into, as I think we saw from at least
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1        one of the witnesses in this case.

2              So what a Tor browser does is it obscures your presence.

3        It makes you so that you are harder to find.           It is harder to

4        figure out where that communication is coming from for a

5        hacker.     So, yes, I use it as a matter of practice, because I

6        think it is safe.     But I started using Tor because I wanted to

7        make sure there were more users on there so there was more

8        obscurity for everybody.      I wanted to participate in the

9        effort.

10       Q.    Have you used the Tor browser to access Silk Road?

11       A.    No.   I never have.    I mean, I have seen cases.         I have had

12       things adjacent to it.      I have never -- I think it was offline

13       before I even got my first case, so I have never visited.

14       Q.    Have you used the Tor browser for any illicit purpose?

15       A.    No.   For illicit purposes, absolutely not.

16       Q.    So you have in your line of work dealt with illicit

17       internet content?

18       A.    Significantly, yes.     Under court order.       So, you know, I

19       never visit anything without a court order allowing me to.

20       Q.    And on the Tor network or on the clearnet?

21       A.    Yeah.   This is the problem.      With the court order my

22       internet service provider doesn't care that I have a court

23       order.    They are not asking for it.       I don't want to get shut

24       down.    I don't want to get flagged.       And even though if the

25       police came to my door, I could prove that I had a court order,
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1        I just don't need to have that drama.         So I will use the Tor

2        and a VPN, even though I have got a court order.

3        Q.    What kinds of illicit content are you dealing with in your

4        work?

5        A.    Well, unfortunately, probably the largest single bulk has

6        been what we have called here is CSAM, child sexual

7        exploitation material, child pornography.            So it has been a lot

8        of those cases.      I don't -- fortunately I don't have to visit

9        those sites as a part of that.       But in doing Google searches

10       for things like that, I think it could look suspicious.

11             That is probably the major one.        I do an awful lot of

12       credit card fraud, crypto fraud, gosh, oh, Direct TV theft, you

13       name it, I have probably done it.        I hacked cell phones back

14       when that was still happening.

15       Q.    From your examination, was any CSAM identified on any of

16       Mr. Sterlingov's devices?

17                   MS. PELKER:    Objection, Your Honor.

18                   THE COURT:    I will allow the question.        I think it

19       is -- it is -- you can continue.        That is fine.

20                   THE WITNESS:    I have reviewed all of the government's

21       reports and all of the material and specifically did a search

22       for that.    The government found no -- at least reported no

23       indications of CSAM on any of his devices or his network.

24       BY MR. EKELAND:

25       Q.    Was there any indication that Mr. Sterlingov ever searched
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1        for or visited or purchased any CSAM?

2        A.    Not so much as even a curiosity Google, nothing.                Again,

3        nothing that has been found.

4        Q.    Did you hear Ms. Mazars testify about file carving?

5        A.    Yes.

6        Q.    And could you -- do you know what file carving is?

7        A.    Yes, absolutely.     I do it almost every day.

8        Q.    Can you explain to the jury what file carving is?

9        A.    Yeah.   Basically what ends up happening is hard drives in

10       and of themselves are fascinating the way that they work.                But

11       what ends up happening is everything stored on a hard drive is

12       stored in what is called blocks.        So what that means is it is

13       almost like where you live, an entire block has to be occupied,

14       whether there is one house on it or it is filled with houses.

15       The block still exists.      That is how a hard drive works oddly.

16             So what will end up happening, when you delete something,

17       when something goes away, it is not necessarily that you

18       deleted it, when something is no longer there either because

19       the operating system found it unnecessary or it aged out

20       because things that are in your browser will go away over time.

21       What ends up happening is that space actually doesn't get

22       deleted, it doesn't get cleared.        It just becomes what is

23       called unallocated, which means it is still there, but it is

24       available to be overwritten by something else.

25             What will happen is if what was there before -- and I hope
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1        everybody is -- that I not making this too complicated.                If

2        what was there before occupied an entire block, if it is a big

3        file, which would span many blocks, so like a big building that

4        interrupts lots and lots of streets, when you delete that and

5        then you start to fill that space over with new data, if the

6        new data only requires a part of a block, there might be

7        something very useful left over kind of in the dirt of the

8        old -- of what was there before.         Carving will get that and

9        help put it back together and it will help us recover -- just

10       even indications -- for example, this is how a lot of child

11       pornography cases are discovered.         Even if the images aren't

12       there, we can find enough of an image or enough of a file name

13       to see whether or not it once was there.

14       Q.     Is it easy to remove all traces of your activity from your

15       computers and storage devices?

16       A.     It is not easy at all.       It is a very, very -- I -- it is

17       my opinion that if you really want something gone, you are

18       going to have to make that hard drive, that physical device

19       gone.   I have seen things recovered I would have never thought

20       could have been.

21       Q.     And did your examination find any trace on

22       Mr. Sterlingov's computers and devices of him operating Bitcoin

23       Fog?

24       A.     Nothing at all.

25       Q.     And have you ever had a case where there wasn't a trace --
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1                   MS. PELKER:     Objection, Your Honor --

2                   THE COURT:    Sustained.

3        BY MR. EKELAND:

4        Q.    You mentioned that you used Tor.        What kind of Tor sites

5        do you generally visit?

6        A.    Well, what I like to do is -- again, because I like to

7        help add to the obscurity, which makes it more effective.             And

8        again that is why the Navy released it, because their

9        communications wouldn't be safe if they were the only ones

10       using Tor.    They need to be --

11                  MS. PELKER:     Objection, Your Honor.        If this is

12       Mr. Fischbach's personal use of Tor, I think that is beyond his

13       expertise and testimony here.

14                  THE COURT:    Let me look at the question.

15                  So the question -- the answer isn't responsive.            The

16       question was just, what kind of Tor sites do you generally

17       visit?   So if you want to just answer, quickly touch on that

18       topic, that is okay with me.        But then let's just move on.

19                  MR. EKELAND:     We can move on.      I think --

20       BY MR. EKELAND:

21       Q.    Do you use encrypted mail?

22       A.    Yes, very much.

23       Q.    And encrypted messaging?

24       A.    Exclusively.

25       Q.    And encryption in general?
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1        A.     Yes.   It is necessary.

2        Q.     And why do you encrypt your messages and data?           Why do you

3        use encryption?

4        A.     Even on a personal level, not using encryption is,

5        frankly, just a ticking time bomb.         At some point your data

6        will be caught by someone.       I don't mean by the police, I mean

7        by hackers.

8        Q.     Do you back up your data?

9        A.     Yes, of course.     I don't think I ever back it up as

10       frequently as I should.      But especially my work data is very

11       backed up and not only backed up, but removed off site when I

12       can.

13       Q.     Do you encrypt your data backups?

14       A.     Yes.   They are all encrypted.

15       Q.     What kinds of devices do you use?

16                     THE COURT:   I'm sorry.   I am not sure what the

17       relevance of the witness' personal practices are to his expert

18       opinion.

19                     MR. EKELAND:   He is a computer forensic specialist

20       who has been using computers for years just like --

21                     THE COURT:   I understand.    But we are just getting

22       into a lot of detail about what his personal practices are.                I

23       am not sure that is relevant to what the practices of others

24       are, for example.

25                     MR. EKELAND:   I will connect in like two or three
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1        questions, Your Honor.       This is a transition.

2                   THE COURT:     Okay.

3        BY MR. EKELAND:

4        Q.     Mr. Fischbach, what types of computers, if any, do you

5        use?

6        A.     I have a Cisco -- well, two Cisco blade servers, basically

7        like what Google runs on.       I have got two of those.         I have got

8        lots of desktops.      I don't favor Mac or PC.        I have them both.

9        I have practically every cell phone that has -- every cell

10       phone model that has ever been developed.             And I have four

11       different ones here just in my luggage.           I consider those

12       computers as well, tablets.

13       Q.     Are you familiar with Linux?

14       A.     Very familiar with Linux.

15       Q.     Can you just remind the jury what Linux is?

16       A.     It is an open source operating system.          It is what I call

17       UNIX adjacent.       So that was the original -- the original notion

18       behind Linux was to make a free, open source -- so open source

19       meaning that multiple people contribute to it and update it and

20       create what are called forks, different versions of it for

21       different purposes.      But there is no charge to it, which isn't

22       why I use it.    I use it again very much in the same -- in one

23       sense in the way that I use Tor, which is that I want to help

24       keep the project alive.       Because I think it is important that

25       Apple and Microsoft have competition.          And also because, quite
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1        frankly, some of the best tools for my trade are on Linux.

2               So it has become a very important operating system.             And I

3        do run virtual machines as well on top of Linux.             So Linux is a

4        wonderful sort of bedrock to run a Windows virtual machine and

5        a Mac virtual machine.

6                      THE COURT:   I'm sorry.   The question here was, "Can

7        you remind the jury what Linux is?"         I just want to remind the

8        witness, please just listen to the questions that are being

9        asked of you and answer those questions.

10                     THE WITNESS:   I apologize.    You sound like my wife,

11       yes.

12                     THE COURT:   All right.   Thank you.

13       BY MR. EKELAND:

14       Q.     Are you familiar with Bash?

15       A.     I am, yes.

16       Q.     Can you remind the jury what Bash is?

17       A.     Yeah.   It is just a terminal interface.

18       Q.     When you say terminal interface, what does that mean?

19       A.     I'm sorry, trying to keep it short.           So it is where you

20       type commands to your computer or to a network.

21       Q.     And are you familiar with SSH?

22       A.     Yes.

23       Q.     And can you just remind the jury what SSH is?

24       A.     Yeah.   It is a secure socket.     It is basically the

25       underlying infrastructure of the coding that you are
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1        effectively using in order to connect, again, securely.

2        Because we used to use what was called Telnet in the clear.                No

3        one uses that today.     You just use an encrypted connection over

4        a network to be able to command your computer or anybody could

5        command your computer.

6        Q.    Is SSH a part of Linux?

7        A.    Yes.    It is a secure shell within Linux.

8        Q.    And, Mr. Hassard, if you could please put up what is in

9        evidence as Government Exhibit 720.

10       A.    I also should note for completeness, SSH while it comes

11       with Linux is also available for Windows, Macintosh, cell

12       phones.

13       Q.    What does it stand for?

14       A.    I believe it is secure shell.

15                    THE COURTROOM DEPUTY:     Give it a minute.

16                    MR. EKELAND:   Thank you.

17       BY MR. EKELAND:

18       Q.    And, Mr. Fischbach, do you see Government Exhibit 720 in

19       front of you?

20       A.    I do.

21       Q.    And, Mr. Hassard, could you just slightly scroll down.

22       And what is your understanding of what this is?

23       A.    This looks like somebody effectively putting through a set

24       of commands.    I see Tiger VNC, which is a method of controlling

25       a computer, like Go To My PC, which would be what typically
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1        people would use.     And this looks like it is basically setting

2        things on the computer that it is reaching via a dynamic DNS,

3        ignorelist.com.      So like I described yesterday.

4        Q.    And do you see anything at Government Exhibit 720 that you

5        can identify as relating to the operation of Bitcoin Fog?

6        A.    No.   There is nothing on here related to -- I guess if you

7        want to scroll down a little bit, I will double check.                But I

8        see nothing -- no, there is nothing here related to that.               This

9        is just the controlling of someone's machine via

10       ignorelist.com.

11       Q.    And is this Linux?

12       A.    These -- well, there is no way for sure that it is Linux

13       just looking at it, because it just looks like it is

14       controlling a Linux machine.

15       Q.    Understand.    If we could take this down, Mr. Hassard, and

16       put up what is in evidence as Government Exhibit 722.

17       A.    That is I think --

18                   THE COURTROOM DEPUTY:      Give me a second.

19                   MR. EKELAND:    That is not published.

20                   THE COURT:   And wait for a question.

21                   THE WITNESS:    I am not sure if this is the right

22       exhibit.    Okay.

23                   MR. EKELAND:    Thank you.

24       BY MR. EKELAND:

25       Q.    If you could just take a look at Government Exhibit 722.
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1        And, Mr. Hassard, if you could slowly scroll down.             Thank you.

2        Mr. Hassard, if you could take it back to the top.

3              Mr. Fischbach, what is your understanding of what

4        Government Exhibit 722 is?

5        A.    Well, this is very clearly connecting in again via SSH.

6        And you can see in this case, the IP address is used directly,

7        instead of a dynamic -- a host that is the second line from the

8        top would be the IP address.        I also notice as it was scrolling

9        that there is a Telnet command being sent, similar to what I

10       was talking about.     So effectively what is happening, a

11       terminal command is being clearly sent within the SSH tunnel.

12       But I see it setting a terminal speed.          And it looks like

13       somebody who is trying to set up something to stay online, just

14       as a quick read of it.      Possibly a gaming machine, more likely

15       something like a -- you would use this for like surveillance of

16       your home or home control, home automation, that sort of thing.

17       It is a quick look, but it may be something like that.

18       Q.    And you mentioned you use the phrase SSH tunnel.                Could

19       you just explain that briefly to the jury?

20       A.    Well, all tunnel -- the word is actually unnecessary.               All

21       SSH, all Telnet, all commands that are sent through -- all VPN,

22       actually -- it is all over a tunnel.         So what the tunnel means

23       is you are occupying, you are sending something through where

24       you are going to occupy that connection from point A to point

25       B.
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                         DIRECT EXAMINATION OF MR. FISCHBACH                   40

1        Q.     And on Government Exhibit 722, do you see anything that

2        identifies it as having to do with the operation of Bitcoin

3        Fog?

4        A.     This doesn't look anything like what you'd expect for a

5        full time server.

6        Q.     And if we could take that down, Mr. Hassard, and put up

7        what is in evidence as Government Exhibit 723.

8               And, Mr. Fischbach, if you could just take a look at that

9        and then tell me what your understanding of what Government

10       Exhibit 723 is.

11       A.     Sure.   And I apologize.     I don't -- I haven't looked at

12       these in a long time.      But what -- so 127.0.0.1 is typically a

13       home router.    So most people here who have Wi-Fi at home, if

14       you were to ping 127.0.0.1 --

15                  THE REPORTER:     You have got to slow down on those

16       numbers.

17                  THE WITNESS:     I'm sorry.     I promised myself I was

18       going to write myself a note.       If you were to type in

19       127.0.0.1.     You very well might get your router, like you would

20       see in Linksys or something like that.          It could be 127.0.1.1,

21       but that 127 block is for your home specifically.

22                  And then I see the name of what appears to be a

23       computer hard drive, two of them bunkerX media and bunkerX

24       home.   And so it is just named bunkerX.         And then those two

25       apparently describe what it is.        But the full name is bunkerX
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1        media and bunkerX home.       And then it gives a file path to where

2        it is trying to reach on those computers.

3                    The rest of it is pseudo mount.           The rest of it is

4        just more about setting it up so that you are going in.                This

5        notion of a port where it says here, user heavydist would be

6        the user name.       The port is that on your network -- again

7        everybody who has a network at home has this happening.                Your

8        network has what is called ports.         And those ports are there to

9        keep you safe.       They are closed up.     But certain ports like

10       port 80 has to be open in order to reach the internet.

11                   And port 80.80 has to be open in order to reach your

12       bank, because that is your https connection, your secure

13       connection.    So in this case the user has opened up port 10445

14       probably because it is an obscure, unknown, not easy to guess

15       port.   And I am guessing that is how they are controlling this

16       computer with those two drives.

17       BY MR. EKELAND:

18       Q.    Do you see anything on Government Exhibit 723 that

19       identifies it as having anything to do with the operation of

20       Bitcoin Fog?

21       A.    No.   There is -- almost no possibility of it that a

22       commercial server would run like this.

23                   MS. PELKER:     Objection, Your Honor.        That is well

24       beyond the scope of anything that has been disclosed.

25                   MR. EKELAND:     We do --
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1                   THE COURT:     Do you want to pick up?

2                   (Conference held at the bench.)

3                   MS. PELKER:     Your Honor, that is an expert opinion

4        about the nature of this connection that this is not consistent

5        with a commercial server and that is certainly not something

6        that has been disclosed.

7                   MR. EKELAND:     Well, the government has brought in

8        these exhibits.      He is reviewing them in rebuttal to the

9        testimony related to them.      He has been -- his expertise in

10       these areas and Linux and servers and everything has been

11       disclosed.    And he --

12                  THE COURT:     So show me where -- I have the

13       disclosures in front of me.         Show me where in the disclosures

14       that it talks about his expertise or that he would offer

15       opinions like this.

16                  MR. EKELAND:     This is rebuttal to evidence put in by

17       the government.      The government -- these exhibits and this

18       software was put in by the government.           And the government's

19       implication and the testimony from this software was that the

20       software was somehow operating Bitcoin Fog.             Mr. Fischbach is

21       well qualified when it comes to servers.              He has testified --

22                  THE COURT:     I understand whether he is qualified.

23       The question is whether there was a disclosure on this.

24                  MR. EKELAND:     This is rebuttal testimony.

25                  THE COURT:     I know.    But I have told you before that
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1        the law is well established that you are required to make

2        expert disclosures, even where you are responding to

3        government's case, because otherwise you wouldn't have to do

4        disclosures at all, because everything you are doing is

5        responding to the government's case.           So if there is some

6        reason to think that you were blindsided by this, I get that.

7        That is one thing.     But if not, the whole point of the

8        reciprocal disclosures is that both sides have to disclose and

9        everything you offer is in rebuttal to the government's case.

10                   MR. EKELAND:    We didn't know that they were going to

11       use these Linux histories and Bash histories to say that these

12       were Mr. Sterlingov operating Bitcoin Fog.             That wasn't

13       anything that was disclosed in any of the government's expert

14       disclosures anywhere.      This was something that came up as a

15       matter of evidence in the case.          And you know the defense's

16       position.    We believe that Mr. Fischbach is well qualified.

17                   THE COURT:    No.   No.    Don't talk about his

18       qualifications.      That is not the question.

19                   MS. PELKER:    Your Honor, the idea that the defense is

20       surprised by this is just not consistent with the fact that

21       this was provided in discovery.          They have seen the Bash

22       history.    We had noticed that the witness was going to explain

23       and walk through what this was.          She testified these are

24       connections to a remote server.          I believe the testimony was

25       that we can't know for sure based on this what is on the --
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1        what this computer is that is being connected to.              But that

2        this would be consistent with a connection to and control of

3        another server.

4                   This is no surprise to the defense.            And they just

5        didn't notice this at all.       What is significant opinion and

6        that the government would have been entitled to, one, Daubert

7        Mr. Fischbach on, but also put in evidence in its case to

8        prebut this testimony from Mr. Fischbach saying that this

9        wouldn't be consistent with a server.

10                  MR. EKELAND:     I have, Your Honor, just been handed a

11       note saying in docket 145 numbers 12, 18 --

12                  THE COURT:    I'm sorry.      With respect to 166, the

13       supplemental disclosure.      Those are the ones that are the

14       unsigned disclosures and then you cut them back significantly

15       because he had not reviewed what you had submitted as those

16       disclosures.

17                  MR. EKELAND:     One moment and I will pull those

18       numbers.

19                  THE COURT:    Okay.

20                  MR. EKELAND:     Number 11.

21                  THE COURT:    Okay.      Hold on a second.      So number 11, I

22       have in front of me says, "Mr. Fischbach will testify from his

23       experience, both personally and from professional examination

24       as to what is involved in operating a Tor network site and by

25       extension a custodial mixer like Bitcoin."
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1                    I don't think that is close to what we are talking

2        about that.

3                    MR. EKELAND:    I would agree with that.        Let me take a

4        look.   One second, Your Honor.

5                    I think it is implied by 15, 17, 20 and then 24 is

6        just rebuttal.

7                    THE COURT:   Give me one second.         15 is about hardware

8        and we are talking about software.        What is the next one?

9                    MR. EKELAND:    We are talking about actually accessing

10       hardware.    And the capabilities of commercial server, which in

11       relation to home computer which is actually discussing

12       hardware.    We are talking about the -- I mean, what that

13       opinion was, was saying that the hardware that is being

14       accessed isn't capable of running something that requires the

15       capability of a commercial server.

16                   But the next one was 17, Your Honor.

17                   THE COURT:   That doesn't seem to cover this.             What is

18       the next one?

19                   MR. EKELAND:    20.

20                   THE COURT:   So I think you are getting closer with

21       this, but the thing is that -- I guess, the problem I am having

22       with this, if the government's witness had testified that this

23       was consistent with running Bitcoin Fog and that it can be

24       configured in this way, I think that you would be on fair

25       ground.   I don't recall at least the government saying that.
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1        But maybe you need to refresh my recollection of what the

2        government witness actually said.

3                   MR. EKELAND:     Again, I don't have the transcript in

4        front of me, Your Honor.      But my recollection is that she

5        basically testified that this was consistent, that she couldn't

6        tell one way or another, but it was consistent with logging

7        into Bitcoin Fog.     That was my understanding of the whole line

8        of questioning on these Bash histories.          And, quite frankly,

9        that is why we are spending time on them is because of that

10       whole line of testimony implying that this very well could be

11       Mr. Sterlingov logging into Bitcoin Fog.

12                  THE COURT:    All right.     Ms. Pelker.

13                  MS. PELKER:     Your Honor, I believe the witness

14       testified on direct that these were remote connections and we

15       couldn't go what the server was, but that there were -- was

16       additional devices out there that we were never able to review.

17       And on cross-examination, Mr. Ekeland went down and said there

18       is no evidence of Bitcoin Fog here, here and here.             And then on

19       redirect I asked, when Mr. Ekeland was asking whether there was

20       evidence you were -- that the witness confirmed that she

21       understood that to mean there is no reference to Bitcoin Fog.

22       And that taken as a whole, the activity could be consistent

23       with someone operating Bitcoin Fog.

24                  If we had notice that Mr. Fischbach was going to

25       testify this would be inconsistent with someone accessing a
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1        server and this couldn't be a server, we would have elicited

2        additional testimony on this point.         That is the whole purpose

3        of the expert notice process.

4                   THE COURT:    Right.     So but if the government's

5        witness did testify that this -- that she couldn't tell what

6        type of --

7                   MS. PELKER:     Your Honor, we can go back and pull the

8        transcript as well.     I don't want to misstate because I

9        understand it is a bit of a nuanced point here.            I think the --

10       there is no surprise to the defense about what the testimony

11       was.   And we are now being very much surprised by what

12       Mr. Fischbach has now -- a new expert opinion he has formed on

13       the stand, which is that this is not consistent.

14                  MR. EKELAND:     I don't think there is any surprise

15       here or that this is any new expert opinion.           This is

16       Mr. Fischbach going through and reviewing the transcript and

17       the Bash history that the government opened the door to in

18       their testimonies essentially saying that it is consistent with

19       operating Bitcoin Fog.

20                  THE COURT:    Let me ask you this:        Any objection if I

21       allow this to allowing the government to offer in its rebuttal

22       case a response to this?

23                  MR. EKELAND:     If they are putting on a rebuttal

24       case -- well, are you saying if I give up on this hill, you are

25       not going to allow it, is that what the Court is saying?
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1                    THE COURT:   So I am certainly not going to allow it

2        on a topic that isn't examined.        So if you don't examine on it,

3        I am not going to allow a rebuttal case on it.            If you do do

4        it, I think that it is -- I don't think this really was

5        noticed.   And there -- it is certainly -- this was never

6        anything that was explored with me at the Daubert hearing.             But

7        if you feel like you need to do this in response to something

8        that the government witness said -- and I don't have that in

9        front of me at the moment.      And if I am giving you sort of a

10       break on that, then I'd give the government the same break and

11       say they could come up in with a new expert on rebuttal if they

12       wanted to address this in response.

13                   MR. EKELAND:    Your Honor, this wasn't rehearsed and

14       so, I mean, I can move on from this.         Like this is not --

15                   THE COURT:   The question -- there is an answer to

16       strike.    So the question is whether we -- this is an issue we

17       want to get into.     And I understand the importance of this and

18       I am not discounting that.      But this is nothing that was ever

19       explored in the Daubert hearings and I do think the government

20       is fairly reasonably of the view it was caught by the surprise

21       by the new expert opinion.      And if I allow it, then I just

22       think that I need to also allow the expert to offer its own

23       expert in a rebuttal case to respond to this.            So I am happy to

24       put it all in front of the jury and let the jury decide what it

25       thinks is right.
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1                    But if you don't want to go down that road, then I'd

2        probably have to strike the answer, just as a matter of

3        fairness.    I think what is good for the goose is good for the

4        gander.   I need to make sure I am treating both sides the same

5        on this issue.

6                    MR. EKELAND:    I think that I am going to note our

7        disagreement that this is a surprise.         But why don't we strike

8        the answer and move on because -- and take it from there.             This

9        is not some -- I wasn't trying to intentionally elicit this

10       testimony about the commercial server.

11                   THE COURT:   Whether it is surprise or not, I just

12       think it is nothing that was developed at the Daubert hearing.

13       And I actually -- to my mind these are actually substantial

14       Daubert issues about whether and how someone has expertise into

15       making those types of determinations and whether he has the

16       qualifications to do that or not.        I have not heard anything

17       about that.    And we had extensive Daubert hearings and never

18       was addressed at all.      And I don't think sort of the more

19       general disclosures were sufficient to raise this issue.              So I

20       am not saying the government was necessarily surprised, but it

21       wasn't disclosed in the Daubert process.

22                   MR. EKELAND:    And the government didn't disclose that

23       they were going to review the Bash histories or any of these

24       scripts and give the opinions that they gave regarding them

25       either, Your Honor.
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1                   THE COURT:    Right.     Although I do think that the

2        difference here is -- again, someone could put it in front of

3        me and I am happy to look at it.        If you want to show me and it

4        might change my view.      But my understanding at least on what

5        Ms. Pelker said and I think you haven't disagreed with this, is

6        that the government witness simply said she didn't know what

7        the connection was.     That is a little bit different from saying

8        this is categorically inconsistent, this could not have been an

9        attachment versus saying I don't know.

10                  MR. EKELAND:     It is my understanding the implication

11       was -- again, I would have to go back and look at the

12       transcript.    This is why the whole line of questioning is here

13       is that this was potentially Mr. Sterlingov.

14                  THE COURT:    Why don't we do this?        Why don't someone

15       pull the relevant testimony from the government witness for me.

16       Let's move on past this for now.        I will strike the answer for

17       now.   I will let you come back to it if it turns out there is a

18       basis for it and the government opened the door on this in some

19       way.   But let's strike it for now and you can come back after I

20       had a chance to look at the transcript, unless you want to say

21       now, look, all is fair and the government can have a rebuttal

22       case on this.

23                  MR. EKELAND:     I like the Court's proposal, we strike

24       if for now and if for some reason, we think that, you know, we

25       want to revisit the issue, we'll raise it with the Court.
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1                     THE COURT:   Okay.     Thank you.

2                     (End of bench conference.)

3                     THE COURT:   All right.     Members of the jury, I am

4        going to strike the last answer that was given and you should

5        disregard that question and answer in your deliberations.

6                     And you can proceed, Mr. Ekeland.

7                     MR. EKELAND:   May I proceed, Your Honor?

8                     THE COURT:   You may.

9        BY MR. EKELAND:

10       Q.    Mr. Hassard, if we could put up what is in evidence as

11       Government Exhibit 725.      And if we could just scroll over a

12       little bit so it is centered.

13             Mr. Fischbach, can you see that?

14       A.    I do.   Yeah, I recognize this spinning wheel of death.

15       Q.    And what is your understanding of what Government

16       Exhibit 725 is?

17       A.    Well, this is a Bash terminal SSH command.            It looks like

18       it is a -- what would be called a script, so it looks like it

19       is made to run automatically.

20       Q.    Do you see the ignorelist.com right there?

21       A.    I do.

22       Q.    And do you know what ignorelist.com is?

23       A.    Yes.    It is a free, dynamic domain name service.

24       Q.    And could you explain to the jury what a dynamic domain

25       name service is?
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1        A.    Okay.   I think I covered this yesterday, so I promise I

2        will keep it short.     It is the idea of having a domain name

3        like a www.Google.com that you can use to reach your home

4        network for mostly home automation, like sprinklers and cameras

5        and things like that, but there is that issue that at your

6        home, your IP address changes frequently.            Except for that 127

7        I just described, that is just for you, inside.            But your

8        outside address on your cable modem or your -- or whatever you

9        are using, that changes frequently on a home network.                 And so

10       this dynamic DNS -- this script actually appears as though it

11       is probably letting that dynamic DNS know the updated domain

12       name -- I'm sorry -- updated IP address.

13       Q.    What is -- what is the difference if you could explain

14       again what the difference between a dynamic DNS and a static

15       DNS is?

16       A.    So it is actually not dynamic and static DNS, but I think

17       you are asking about dynamic and static IP address.

18       Q.    I was --

19       A.    Apologies.     I think I understand where you are coming

20       from.    So the dynamic DNS service is to support dynamic IP

21       addresses from your internet service provider.            So for my

22       domain, secondwave.com, I have had the same IP address for 20

23       years.    I probably should have memorized it by now.

24             Google has had the same one for a long time.            Microsoft's

25       is almost famous.     But at home, because it changes, this
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1        service and a script like this, will make sure that if you want

2        to reach a network here, it would be like you would type

3        TD1.ignorelist.com, it would look in the database to see what

4        IP address was last updated for your home.           And then it would

5        forward you directly to that number so you can get into your

6        home network.

7        Q.     Do you know whether Bitcoin Fog used a dynamic or static

8        DNS?

9        A.     I know for a fact it used a static DNS.

10       Q.     You can take that down, Mr. Hassard.          And do you recall

11       Mr. Scholl's testimony about the last withdrawal from Bitcoin

12       Fog being two days after Mr. Sterlingov's arrest?

13       A.     I do, yes.

14       Q.     While he was in detention?

15       A.     That is my understanding is that he was in detention at

16       that time.

17       Q.     Did your review of his devices reveal any kind of kill

18       switch that would have turned off Bitcoin Fog while he was in

19       jail?

20       A.     No.   There was nothing found on any of the devices

21       relating to kill switch.

22       Q.     And in your experience, do people in jail have operational

23       access to the Tor network?

24                    MS. PELKER:   Objection, Your Honor.

25                    THE COURT:    I will allow this one.
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1                     THE WITNESS:   My experience and I have actually been

2        able to operate computers from within inside of jails as part

3        of cases, they are heavily locked down.          I don't think I have

4        ever tried to install Tor.      But they don't allow you to just

5        install whatever you want to install.         And they don't allow you

6        to go wherever you want to go.       It is very limited.

7        BY EKELAND:

8        Q.    In your review of Mr. Sterlingov's devices and the

9        discovery in this case, did you find any -- come across any

10       communications between Mr. Sterlingov and anyone operating

11       Bitcoin Fog?

12       A.    Nothing.

13       Q.    Turning your attention to the devices that were seized

14       from Mr. Sterlingov at the Los Angeles International Airport.

15       Did you see the devices the government displayed during Agent

16       Mat Price's testimony at the beginning of this trial?

17       A.    I did.   And I was able to inspect them up close as well.

18       Q.    Did you see the SIM cards?

19       A.    I did.

20       Q.    Do you have any professional experience with SIM cards?

21       A.    Yes.   As a part of my work, yes.

22       Q.    In what way?

23       A.    I do a lot of cell phone tracking, trying to locate --

24       either to confirm or possibly dispute cell phone tracking from

25       law enforcement, but also when we have a missing person's case,
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1        I will help with that as well.       So the SIM cards become

2        significant.    And then we also have issues of SIM, what is

3        called SIM swapping, SIM jacking, and hijacking people's SIM

4        cards, so I get a lot of cases involving SIMS.

5        Q.     Why do you carry multiple SIM cards?

6        A.     I guess the question is, do I?       I do.

7                   MS. PELKER:     Objection.

8                   THE COURT:    If you -- I am not sure why his personal

9        practice is relevant, so sustained.

10       BY MR. EKELAND:

11       Q.     Can you think of -- what is your understanding of why

12       someone like Mr. Sterlingov might carry multiple SIM cards with

13       him?

14                  MS. PELKER:     Objection; calls for speculation and --

15                  THE COURT:    Why don't -- if you can ask him more

16       generally if he has experience or knowledge with respect to

17       people's uses of SIM cards for various purposes that is fine.

18                  MR. EKELAND:     I didn't hear that.

19                  THE COURT:    If you want to ask him more generally

20       about his -- if he has experience and knowledge with respect to

21       how -- the types of ways in which people use SIM cards, that is

22       fine.

23       BY MR. EKELAND:

24       Q.     Mr. Fischbach, do you have experience and knowledge in the

25       way people use SIM cards?
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1        A.    Yes, I do.

2        Q.    What are some of the ways that people might use multiple

3        SIM cards?

4                   THE COURT:    Then it --

5        BY MR. EKELAND:

6        Q.    What is your experience in how people use multiple SIM

7        cards?

8        A.    I can tell you how I personally was first supposed to the

9        idea of swapping out SIM cards.

10                  MS. PELKER:     Objection.    We are not trying to be

11       difficult.    The witness can testify to his professional

12       experience, not personal.

13                  THE COURT:    Sustained.     So I think the question is

14       whether he has any particular expert knowledge that is anything

15       that he has studied and he has a knowledge base based on his

16       expertise as to how people in general use SIM cards.

17       BY MR. EKELAND:

18       Q.    Do you have professional knowledge of how people use SIM

19       cards?

20       A.    I do, yes.     Most of my cases that involve foreign

21       nationals involve multiple SIM cards.         Because unlike the

22       United States, traveling all over Europe for example, does

23       require switching services, otherwise it becomes very

24       expensive.

25       Q.    How does having multiple SIM cards help with switching
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1        services?

2        A.    You can subscribe or buy a prepaid SIM card for the local

3        service.

4              Even in the United States, this could be a case -- like in

5        Alaska I did a case where all of the calls were on GCI net

6        because they are the only 5G provider in Alaska.             So people in

7        Alaska will swap SIMS.       I swap SIMS.     I switch SIMS every time

8        I work in Alaska on a case so I can get 5G.            You just purchase

9        a prepaid -- and most modern phones -- I don't know about most

10       modern phones.       This is a Samsung S23.      I this one I have six

11       SIMS loaded up in it right now.         I can go into a menu and

12       switch or it will switch to whichever is fastest or most

13       available.    So if AT&T is fastest in this room, the phone will

14       switch to AT&T for my data service, but my phone calls will

15       still come in by Verizon.       Or it can mix the data and put them

16       together to make it faster.

17       Q.    Are you familiar with the MPTCP, that router

18       Mr. Sterlingov had?

19       A.    Yeah.   I think you got some of the terms wrong.            It is

20       multipath MPTCP, telecommunication protocol -- oh, gosh.               I

21       don't know.    Actually, I wrote it for the court reporter.            TCP

22       is transmission control protocol.

23             So multipath is the ability to -- very much like I

24       described with my phone to what we generally refer to as load

25       balance or fail over.       It basically means that if one of the
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1        networks isn't working, so like I think in this room, I don't

2        think AT&T works as well as Verizon then my phone will use all

3        of the data from Verizon if I am not on the network.             And then

4        at the same time with a modem like the one that I reviewed for

5        Mr. Sterlingov's case, what it will do in addition to load

6        balancing, it will bind them and it will use all of them

7        simultaneously.      So that even if one is slow, it just makes the

8        rest of them a little bit faster.        That is -- by the way, it is

9        specifically used for -- that is a popular device from my cases

10       for podcasters, people doing YouTube videos, things like that,

11       especially if you want to do it live.         It just guarantees you

12       are not going to drop your signal.

13                  MR. EKELAND:     If we could bring up -- the physical --

14       I think it is Government Exhibit 125, 126 if I have that right,

15       which should just be the case.       I hope I have it right.          And

16       this is what in evidence I believe as Government Exhibit 125

17       and 126.   And if we could -- can we -- may the witness handle

18       that, Your Honor?

19                  THE COURT:    Yes.

20       BY MR. EKELAND:

21       Q.    Mr. Fischbach, if you could briefly explain to the jury --

22       just show what this device does, if you know?

23       A.    Okay.   So this is the front side.        There is actually -- it

24       is probably hard to see from where you are.           But there is

25       Velcro here, so it looks like somebody stood this up like this,
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1        which would be the smartest way to do it.             All of these here,

2        the four sticks are USB cellular devices.             These are 4G,

3        probably because it is old.         But so each one of those would be

4        4G, with -- I can see some in review there was a removable SIM.

5        I'm not sure how you open it.        It looks like you take the case

6        open or it may actually just come built in with the service

7        provider -- very hard for me to tell.

8              But either way, each one of these would be a different

9        radio.   They can all be on the same network.           And if you do

10       that, then it means if everybody is -- if all of these are on

11       Verizon, you will get four times the speed.            You will get four

12       Verizon connections and you will get a much, much faster speed.

13       If one is T-Mobile, one is Verizon, one is AT&T and one is

14       Sprint, then what you get is you have what would be called a

15       fail safe or fail over.      And it means that any one of those

16       that is slow gets made up for by the combination of all of the

17       rest of them.

18             And then the other two devices that I have here are

19       Raspberry Pis, just tiny pocket computers, $25 machines.               Is

20       that sufficient?

21       Q.    Unless there is anything else that you think might be

22       helpful to the jury.

23                  THE COURT:    I don't think that is -- you should ask a

24       question rather than sort of just say anything helpful.

25       BY MR. EKELAND:
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1        Q.    Is that a device that people use for streaming?

2        A.    That is the typical selling point of them generally is

3        because with streaming, you really can't -- you can't have it

4        slow down or lose, drop a connection.         So this way, it fails

5        over and makes it faster by combining the networks.

6        Q.    If somebody wanted to get a device like that, where would

7        they get it?

8        A.    Well, I haven't seen this one still available.             It is an

9        older model.    There are much, much nicer, less intimidating

10       looking ones available on Amazon today.

11       Q.    I think we can put that away.

12       A.    I should add to the question, I don't own one and wouldn't

13       bother to pay for one.      Because today if you have a modern

14       phone you can actually plug into USB-C port and do exactly what

15       that does just by putting multiple SIMs.             So I wouldn't see the

16       point for me in spending the extra money in that today.

17       BY MR. EKELAND:

18       Q.    And do you recall in your review of the devices seized

19       from Mr. Sterlingov at the airport that he had a two-factor

20       authentication key?

21       A.    Yes, I did.    I have got one right here on my phone.

22       Q.    And what are the typical uses, if you know, of a

23       two-factor authentication key?

24       A.    Oh, gosh, typical uses.       Today they are used for

25       everything.    But the original use, the first time I ever had
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1        one -- actually I left it in my wife's hands because she

2        doesn't lose things as often as I do.         But it was assigned by

3        the bank.    So the bank gave us a two-factor authentication to

4        keep our account safe.      Today, they are the reason I have this

5        one hanging from my phone from YubiKey, which is probably the

6        top provider today, is because now I can use it so that it has

7        to be present for my laptop to be opened, for anybody to get in

8        my laptop.    I use it -- I have to automatically stick it in or

9        tap it in order to trade cryptocurrency, to buy cryptocurrency

10       or to sell any of my cryptocurrency.         I use it for my bank as

11       well.   Gosh, I use it actually just to get into my Gmail or

12       into my encrypted email.

13                   MS. PELKER:    Your Honor, just to keep things moving

14       along, if Mr. Fischbach wants to testify from his professional

15       experience, that is fine.      But a litany of anecdotes from his

16       personal life is not expert testimony.

17                   THE COURT:    Yeah, I agree with that.        I will let the

18       answer stand.    But going forward, I will request that you

19       provide opinion based on your expertise rather than your

20       personal activities or personal experience.

21       BY MR. EKELAND:

22       Q.    Mr. Hassard, if we could get up what is in evidence as

23       Government Exhibit 112.

24                   THE COURTROOM DEPUTY:      What number?      I'm sorry.

25                   MR. EKELAND:    112.
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1                   THE WITNESS:     If I may, just so that my testimony was

2        clear, all of that was -- that is all work related.              Everything

3        that I was talking about, that is all -- even my cryptocurrency

4        was purchased for work.

5                   THE COURT:    I'm sorry.     There is not a question

6        pending.   And I guess my point and just to clarify as you give

7        your testimony, whether you use it for your work or not isn't

8        the point.    The question is whether it is something you can

9        express an expert opinion about what others do or how things

10       are used otherwise, not just how you are using it in your

11       personal life or your professional life.             That is not what the

12       expert opinion should be about.        The expert opinion should be

13       about something with broader applicability.

14                  THE WITNESS:     Understood.     This came by way of my

15       professional work.     That is pretty much how I get -- because it

16       became part of a case.      So as part of a case, that is how I

17       chose to adopt it.

18                  THE COURT:    All right.

19       BY MR. EKELAND:

20       Q.    Directing your attention to what is in evidence as

21       Government Exhibit 112.

22             And, Mr. Hassard, if you could just slowly scroll down

23       that, if you could please take a look at that.             Do you

24       recognize what that is?

25       A.    I think I have seen this, yes.
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1        Q.    And is that the list of items that the government seized

2        from Mr. Sterlingov at Los Angeles International Airport?

3        A.    That is my understanding of this document.

4        Q.    Did you hear Ms. Mazars testify about the 6 terabyte

5        BitLocker encrypted drive?

6        A.    I did.

7        Q.    Do you see that drive listed anywhere on the devices

8        listed here?

9        A.    I am familiar with the document, but just so I am looking

10       in real time, if you want to scroll down I can double check

11       that I am looking at the same document.

12             Yeah.    No, there is no 6 terabyte hard drive here.

13       Q.    Mr. Hassard, if we could take that down and put up what is

14       in evidence as Defendant's Exhibit number 32.            And if we can

15       just scroll down that.      And is it your understanding that

16       everything on this list with the exception of the 6 terabyte

17       drive was seized from Mr. Sterlingov at Los Angeles

18       International Airport?

19       A.    That is my understanding.

20       Q.    Did you hear Ms. Mazars' testimony regarding this 6

21       terabyte BitLocker encrypted drive?

22       A.    I did.

23       Q.    What was your understanding of what she represented it to

24       be?

25       A.    During testimony?
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1        Q.     Yes.

2        A.     That it was effectively a compilation of all of this.           I

3        don't think she meant like the SIM cards, but all of the media

4        devices, all of the things that hold memory, which a SIM does

5        not.   But that is my understanding, it was a full compilation

6        of everything on one drive.

7        Q.     What is your understanding of what that 6 terabyte hard

8        drive is?

9        A.     I mean, my understanding it is encrypted, which she

10       explained was standard operating procedure.

11       Q.     Uh-huh.   And were you able to review those encrypted

12       files?

13       A.     Yeah.   I wasn't able.    And I guess I saw the --

14                     MS. PELKER:    Objection.   To the extent we are getting

15       into discovery disputes.

16                     THE COURT:    Sustained.    I think the witness was

17       present when we discussed this, so if you can just abide by the

18       ruling that I gave with respect to this topic.

19                     MR. EKELAND:   Understood, Your Honor.       We can take

20       that down.

21       BY MR. EKELAND:

22       Q.     If we could put up what is in evidence as Government

23       Exhibit 721.     Do you recognize this exhibit, Mr. Fischbach?

24       A.     I do.

25       Q.     And did you -- what -- did you hear Ms. Mazars testify
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1        about it?

2        A.    I did.

3        Q.    Were you -- do you recall her testimony about where she

4        said she found it on Mr. Sterlingov's devices?

5        A.    Yes.   My understanding or my recollection from the

6        testimony -- and I did reread the transcript is that it was a

7        screen capture from a conversation that was apparently found on

8        a e-reader, a tablet.      It is actually a -- one of the devices

9        here.   It is actually a Kindle, black and white e-reader.

10       Q.    And it is your understanding that was Mr. Sterlingov's

11       e-reader?

12       A.    That is my understanding.

13       Q.    Were you able to locate this file based on Ms. Mazars'

14       testimony of what she said it was?

15       A.    I was not.

16       Q.    Were you able to locate it?

17       A.    Eventually, yes.

18       Q.    And how were you able to locate it?

19       A.    Well, because it was represented as a screen capture, when

20       I ran the forensic software, it would automatically put all of

21       the screen captures in one place.        So for that reason it just

22       didn't show up, it appeared not to be on the device at all.

23       With the help of government emails back and forth, they were

24       able to give me a path directly to the file that that was

25       apparently the source of this.       And the reason it didn't show
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1        up is it is an ebook about dating.

2        Q.    Was the ebook -- do you know if Mr. Sterlingov wrote that

3        ebook?

4        A.    No.   It has the title -- I mean, the author.           I could

5        actually have on my screen I have the cover of the book.                I

6        could look up the author.

7        Q.    Is it your understanding that this isn't actually a chat

8        from Mr. Sterlingov?

9        A.    This is actually not a chat from Mr. Sterlingov.                This is

10       the path they gave me was to an ebook downloaded still

11       available today for $3 at Amazon.

12       Q.    And we can take this down and move on.

13             You testified that you registered hundreds of domain

14       names?

15       A.    Yes, that is not an exaggeration.

16       Q.    And have you reregistered domain names?

17       A.    Right.   I just reregistered one yesterday morning.

18       Q.    Is a domain registration the same thing as DNS

19       registration?

20       A.    No.   It is a -- DNS happens within the domain name, but

21       there is -- a DNS requires a domain name.            A domain name does

22       not have to have an active DNS.        So they are little bit -- the

23       DNS is what points to the IP address.         The domain name is the

24       actual name itself.

25       Q.    And you have heard the testimony in the case about the
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1        renewal of the --

2                     MR. EKELAND:   I'm sorry, Your Honor.

3                     THE COURT:   No.

4        BY MR. EKELAND:

5        Q.    -- about the renewal of the BitcoinFog.com domain name

6        through Orange website?

7        A.    Yes, I did hear that.

8        Q.    Mr. Hassard, if we could bring up what is in evidence as

9        Government Exhibit 811.      And we will also be looking at

10       Government Exhibit 813, which both should be in evidence.

11                    THE COURTROOM DEPUTY:     811 and 813?

12                    MR. EKELAND:   Yes.

13       BY MR. EKELAND:

14       Q.    And just, Mr. Fischbach, if you just look at Government

15       Exhibit 811 and just tell us what your understanding of that

16       is?

17       A.    This is just a receipt for the purchase of a domain name.

18       Q.    Is that domain name BitcoinFog.com?

19       A.    Yes.   That shows BitcoinFog.com.

20       Q.    And have you in your review of Mr. Sterlingov's devices

21       and discovery in this case, have you seen anything indicating

22       that Mr. Sterlingov made this payment?

23       A.    This receipt was not on nor this email account, none of

24       this was on any of Mr. Sterlingov's devices nor had they been

25       accessed from his devices.
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1        Q.    And the -- this is just a renewal of the Bitcoin Fog

2        clearnet site?

3        A.    That is correct, yeah.        The .com would be the clearnet.

4        Q.    That is through 2021?

5        A.    This copy is through 2021.        That is not the current

6        registration, but, yes.

7        Q.    And then just calling your attention to -- if we could

8        take that down and go to Government Exhibit 813.             And if you

9        could just take a look at that and tell me what you understand

10       it to be?

11       A.    Again, this is an overdue notice, an invoice sent to

12       Shormint@hotmail.com also for -- let's see, payment method --

13       looking for the domain name on here.

14       Q.    I think I put the -- I think I want actually --

15       A.    I don't see the domain name.        It does indicate it is

16       overdue.

17       Q.    And you see it is to Shormint@hotmail.com?

18       A.    It is to the same email address, yes.

19       Q.    Mr. Hassard, if we could put up what is in Government

20       Exhibit 814, which I think is the receipt.            Yes, that is --

21       there we go.    And if you could just take a look at this and

22       tell me what your understanding of this is?

23       A.    So this is a payment for the same invoice number.                But

24       specifically for BitcoinFog.com so that was, in fact, a

25       BitcoinFog.com invoice that was overdue and then it shows the
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1        payment was made.

2        Q.    And is it your understanding that registration is extended

3        through 2026?

4        A.    That is the current registration right now is that it was

5        extended to 2026.

6        Q.    And in your review of Mr. Sterlingov's devices and

7        discovery in your case, did you see any indication that

8        Mr. Sterlingov made this payment?

9                   MS. PELKER:     Objection, Your Honor.

10                  THE COURT:    What is the objection.

11                  MS. PELKER:     We can pick up the phone?

12                  THE COURT:    Is this a good time for our morning

13       break?

14                  MR. EKELAND:     We can take the morning break.

15                  THE COURT:    Why don't we take the morning break now.

16       So it is a few minutes after 11:00.         Let's come back at 11:20.

17       Please don't discuss the case even among yourselves and don't

18       conduct any research and I will see you shortly.

19                  (Jury out at 11:01 a.m.)

20                  THE COURT:    You can speak at your desk there, at the

21       table.

22                  MS. PELKER:     I believe at the Daubert hearing and in

23       the Court's ultimate decisions here, Your Honor was clear that

24       Mr. Fischbach and other witnesses could testify to whether they

25       reviewed for specific pieces of evidence, but that this sort of
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1        testimony, did you find any evidence that Mr. Sterlingov was

2        operating Bitcoin Fog, was an argument to be made in closing,

3        not for something for the witness to opine on.            So it is

4        somewhat of a structure of the question issue, but it did now

5        happen more than once where Mr. Fischbach was asked to testify

6        as to whether he found any evidence that Mr. Sterlingov was

7        operating Bitcoin Fog.

8                   MR. EKELAND:     Certainly, if the government found

9        evidence of Mr. Sterlingov operating Bitcoin Fog, they would be

10       attempting to adduce it in court so I don't understand how

11       asking a forensic investigator whether they saw evidence

12       consistent with what the government has the burden of proof on,

13       I don't see how that is argumentative that the government is

14       welcome to cross on that point.        But that is the core issue

15       here.

16                  THE COURT:    Let me -- I think I can cut this short.

17       I do think that the difference in the way the two of you

18       characterize the question is the problem here in that I think

19       there is a real sort of ambiguity -- if all you mean is, did

20       you see any references to Bitcoin Fog on any of his devices,

21       did you see him connecting to Bitcoin Fog?           That is, I think,

22       fine.   The problem with any evidence that he operated Bitcoin

23       Fog, well, you know, there is all of the tracing that the

24       witness sat here and saw and watched in the courtroom.                That is

25       evidence that is in the case.       And, quite frankly, you know, I
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1        think it is a question for the jury about whether that is

2        evidence that Mr. Sterlingov operated Bitcoin Fog or not.              I

3        don't think this witness is competent to testify as to whether

4        that is evidence or not evidence in doing so.             So if you want

5        to go through and say, were there references to Bitcoin Fog?

6        Did you see him connecting to Bitcoin Fog?            I think that is

7        completely fine.

8                   MR. EKELAND:      I understand, Your Honor.         I see what

9        your point is.       I am happy to make it more specific.         And I

10       will just ask more specific questions, because there is --

11                  THE COURT:     Okay.

12                  MR. EKELAND:      The answer to them is going to be the

13       same.   Point taken.

14                  THE COURT:     That is fine.

15                  Let me ask going back to the question about

16       Ms. Mazars' testimony what is it that you are pointing to or

17       relying upon.

18                  MR. EKELAND:      I haven't --

19                  THE COURT:     To say that --

20                  MR. EKELAND:      I haven't looked at the transcript

21       right now.

22                  THE COURT:     If you -- I was hoping Mr. Hassard may

23       have been doing that but -- let me come back in 10 minutes.

24       Because I'd like to talk about that.          I don't know how much

25       more time you have with this witness.
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1                   MR. EKELAND:     I don't have that much more time at

2        all.

3                   THE COURT:    I want to make sure that I resolve that,

4        so if I do conclude you should be allowed to go back and ask

5        those questions, I wanted to make sure you can do it.

6                   MR. EKELAND:     If we are done with that section, I

7        think it is just that one reference to the commercial server.

8        I think we are okay just with having it struck and moving on.

9                   THE COURT:    That is up to you.           Because it may have

10       been a door that was opened and I don't want to --

11                  MR. EKELAND:     I will take a quick look.           I don't want

12       to drag down the proceedings with this unnecessarily, because,

13       honestly, it wasn't something that I was -- I meant -- was

14       trying to elicit.     But I do think it is a core point.                Let me

15       take a look.    When we come back, I will give you an answer.

16                  THE COURT:    That is fine.

17                  The witness can take your break as well.              But do not

18       discuss your testimony with anybody until it is complete.

19                  THE WITNESS:     All right.      Thank you.

20                  (Recess taken at 11:06 a.m.)

21                  THE COURT:    All right.      And, Mr. Ekeland, what did

22       you decide about whether you want to go back to the question of

23       whether that script is consistent with accessing a server?

24                  MR. EKELAND:     We can just strike the answer.

25                  THE COURT:    Okay.      I think I already did strike it,
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1        so if you don't want to go back to it --

2                   MR. EKELAND:     I am not going to revisit it.

3                   THE COURT:    I want to make clear that I am not

4        foreclosing, if you can show me the door was opened by the

5        government, I'd be open to allowing you to do that.

6                   MR. EKELAND:     We didn't have the transcript of her

7        direct, because we hadn't gotten it.         So we were looking in the

8        cross, but didn't see it.       So I am just going to in the

9        interest of time at the moment drop that.

10                  THE COURT:    That is fine.

11                  Are we ready to bring the jury back?

12                  MR. EKELAND:     Just one really quick housekeeping

13       thing.

14                  THE COURT:    Yes.

15                  MR. EKELAND:     The government has informed me they no

16       longer need to have Professor Verret subject to recall.               I just

17       want to put that on the record.

18                  THE COURT:    Is that -- Ms. Pelker, just to confirm

19       for the record?

20                  MS. PELKER:     Yes.

21                  THE COURT:    So, Professor Verret, you are welcome to

22       leave, if you would like.

23                  Okay.

24                  (Jury in at 11:26 a.m.)

25                  THE COURT:    Mr. Ekeland, you can proceed.          We are
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1        going to break at 12:30.

2                     MR. EKELAND:   12:30.    Thank you, Your Honor.

3        BY MR. EKELAND:

4        Q.    Mr. Fischbach, have you investigated domain name records

5        before?

6        A.    I have, yes.

7        Q.    Have you testified about domain name records before?

8        A.    I am sure I have, yes.

9        Q.    In your experience is some indicia of the domain name

10       registrant stored somewhere?

11       A.    Well, that is -- yes, that is an important part of it.                It

12       does have to be able to -- a person has to be able to be

13       reached to bill.

14       Q.    Do you recall Ms. Mazars testifying about the Who is?

15       A.    Yes.

16       Q.    And could you remind the jury what Who is is?

17       A.    Yeah.   I mean, it is what it sounds like.           It is Who is.

18       And it is -- it is the actual term of art for when you look up

19       a domain name.

20       Q.    When you look up a domain name, what kind of information

21       do you typically see?

22       A.    If it is all open in the clear, you will get starting with

23       the domain name, you will also have at least three dates

24       associated with it.     The date when the file was first created,

25       so that stays with the domain name forever, unless the domain
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1        expires and is not renewed.         And then you will have the last

2        modified, so last date any modification was made to the record

3        itself.   And then you have the -- the expiration date when it

4        is going to expire.     Beyond that, you do have the name service

5        listed in there, so it knows where to point to, so that is the

6        DNS records.    And if it is available, you will have the name of

7        the registrant, which could be a company or it could be a

8        person or some other entity, address, phone number.

9              And there is three -- I believe three of those records

10       that I am just picturing it.        There is the registrant.           There

11       is one for -- I believe there is a technical and there is a

12       billing, so I think there -- I believe all of them have three.

13       So mine I have basically all the same.           And there is a few

14       other details in there, but not really significant to

15       identifying a person.

16       Q.    And would the information include the last time that the

17       domain was re-registered?

18       A.    The last time that the file was modified in any way, which

19       was typically a reregistration.

20       Q.    And, Mr. Hassard, if we could put in what is not in

21       evidence as Defendant's Exhibit 126.

22             And, Mr. Fischbach, could you please take a look at that.

23             And if, Mr. Hassard, if you could please scroll down so

24       Mr. Fischbach can look at that while we --

25       A.    We have the spinning wheel again.
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1        Q.    Without scrolling down, do you recognize what that is?

2        A.    Yes.   I believe this is the one that I did, at least from

3        the date.    And it would be from DomainTools.com.

4        Q.    And this is a Who is lookup from DomainTools?

5        A.    This is a Who is.     Just so the jury understands the term

6        Who is, although there is a website -- there is a couple of

7        them, there is Whois.com and Whois.org and there may even be

8        more, but the name is a general term that is used for anybody.

9              So if you go to GoDaddy, you will Who is a website at

10       GoDaddy, even though that is not their name.            So yes.

11       Q.    What is DomainTools.com?

12       A.    It is just a more complete record -- a lot of times, like

13       if you go to GoDaddy.com, it is just the one that always comes

14       to mind, because they advertise so much.             If you go there, they

15       typically truncate the record to just what somebody really

16       specifically needs to look at.       And DomainTools is good.          I

17       have seen it used by law enforcement for a very long time, so I

18       have adopted it as well.      It just provides more information.

19       Q.    Have you found DomainTools.com to provide accurate

20       information?

21       A.    Absolutely.    I have never seen an error in it.

22       Q.    Does the public in general rely on DomainTools to provide

23       Who is information?

24       A.    Can you repeat that?

25       Q.    Does the general public rely on DomainTools as an accurate
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1        source for Who is information?

2        A.    I don't know that I could necessarily say the general

3        public does.    But the information is the same as any Who is.

4        And I know the general public does rely on a Who is which would

5        be identical to this.

6        Q.    Who is business records show the registration information

7        for domain name?

8        A.    That is correct.

9        Q.    Is this a fair and accurate representation of your search

10       results for who is information using DomainTools?

11       A.    This looks like the actual search that I did, just because

12       of the date.

13                  MR. EKELAND:     Your Honor, at this time, the defense

14       would like to move into evidence what has been marked for

15       identification as Defendant's Exhibit 126.

16                  THE COURT:    Any objection?

17                  MS. PELKER:     No objection.

18                  THE COURT:    Defendant's Exhibit 126 is admitted and

19       may be published to the jury.

20                  (Whereupon, Defendant's Exhibit No. 126 was
21       admitted.)
22       BY MR. EKELAND:

23       Q.    You can see that, Mr. Fischbach?

24       A.    I see that, yes.

25       Q.    Mr. Fischbach, can you explain what this Who is
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1        information is displaying here?

2        A.    So this is the domain name registration for

3        BitcoinFog.com, which would be the clear site.            As you will see

4        where it says registrar, this is a typical domain service.             I

5        don't know what BS corp stands for.         But it is a -- this is

6        what is called a private record.        So if you look at Who is

7        server, the original registration is held under

8        Whois.internet.bs, which I have researched.           That is what is

9        called a private domain.      It is a pretty -- that is a very

10       typical, very average thing.        I do have private domains where I

11       just don't want to be solicited, because a lot of people get

12       your information for -- for unsolicited phone calls and things

13       like that from your domain names.        But that is who this one was

14       registered through.     And I see under IP history this is extra

15       stuff.

16             I'm sorry.     I passed dates.    So the dates say created on

17       2011, October 25th.     It expires -- so that would be the

18       original -- October 25th would be consistent with the opening

19       of Bitcoin Fog.      Expires 2026, also October 25th, which is

20       typical that it would expire on the same day as it was

21       registered.    And then the last update was done on December 1st,

22       2023.

23             It does -- now, here is where we get into some of the

24       extra information that you wouldn't get from like a GoDaddy.

25       It says registered and no website, which is accurate for this.
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1        So that means that the domain file is current, somebody is

2        still paying for it, somebody is maintaining it, but that it

3        is -- there is no DNS pointing to a website right now.                 And

4        then again, this extra information that you received, so IP

5        history, it says it has had four changes and four unique IP

6        addresses over 13 years.       So that means it has been pointed to

7        four different places.       It could be the same place but at least

8        the server addresses have changed.

9              Three registrars, which I am not sure that that means

10       anything other than modifications in the information, because

11       we know for sure that this is the original record.              So I am

12       not -- somebody probably changed like the technical status that

13       would be recorded there.       So, I mean, somebody new was being

14       alerted if there was a problem.

15             And then the hosting history, they are going to a total of

16       six changes and six different domain name servers.              DNS servers

17       over 13 years.       And then as you get to the rest of it, you are

18       sort of getting into the weeds, because this is just a lot

19       of the extra information you don't typically get.              But one

20       thing you will see --

21             Mr. Hassard, if you could stop.         1, 2, 3, 4, 5, 6, 7, 8,

22       9, 10, 11, 12 -- 16 -- 17 lines down if I counted that right.

23       It says registrant organization, Whoisprivacy.corp.              So that is

24       the name of the company that basically would hold the records

25       that do have to be kept somewhere, but keeping it private from
     Case 1:21-cr-00399-RDM   Document 289   Filed 03/16/24   Page 80 of 141
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1        the public.    So it is like having an unlisted phone number.                 So

2        the phone company knows who you are.         They know where to send a

3        bill.   But they don't put your -- I don't know even know if

4        that is still a thing, unlisted phone numbers.            I don't think

5        anybody has a phone book anymore.        But back in the day, it

6        would be like taking your phone off the phone book or taking

7        your house off of Google Earth and having it blurred.                 It is

8        basically equivalent to that.

9        Q.    So the Whoisprivacy.corp would have the information as to

10       who controls this domain name?

11       A.    They would either have the information or they would have

12       the information of the entity that holds that information.

13       Q.    In your review of the discovery in this case, did you see

14       whether or not the government issued any legal process to

15       Whoisprivacy.corp to determine who controls this domain name?

16       A.    I saw no legal service related to that.

17       Q.    If we could scroll back up a little bit to the update, up

18       a little bit more, Mr. Hassard, right there.           Updated on -- I

19       got it, Mr. Hassard, right there.

20             Updated on 2023, December 1st, that is about 2 and a half

21       years after Mr. Sterlingov was arrested?

22       A.    Yeah.   The math sounds right, yes.

23       Q.    And what is it -- can anybody just update the domain?

24       A.    No.   It would have to be the entity that controls that

25       domain name.
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1        Q.    And how would the entity do that?         Would they have a

2        username or password?      How would that work?

3        A.    That is correct.     There would be a username and password

4        associated with the account.

5        Q.    And -- I'm sorry.

6        A.    They would also have to know who is the underlying

7        registrar behind this, because thanks to privacy -- to the

8        privacy corporation, even if you wanted to try to guess the

9        username and password, you wouldn't know where to go to enter

10       it.   Because if this was registered on GoDaddy, you wouldn't

11       know because it is not listed here.

12       Q.    And in your review of Mr. Sterlingov -- well,

13       Mr. Sterlingov's devices had been seized at this point, hadn't

14       they?

15       A.    As I understand from the documentation I have read, yes.

16       Q.    But in your review of Mr. Sterlingov's devices, did you

17       anywhere find the necessary log-in to update this domain name?

18       A.    I didn't see that on the devices or on the list of

19       log-ins.

20       Q.    And -- withdrawn.

21             What, if anything, does the updated December 1st, 2023

22       tell you?    Do you know how it was updated?

23       A.    I did look up a little bit more detail.          I believe it was

24       a different exhibit that I provided to the defense just to get

25       the specific detail.     If memory serves and it has only been a
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1        few days, so it should.      I believe that was somebody removing

2        the DNS servers from the website on that date.

3        Q.    And now I am showing you -- Mr. Hassard, if we could take

4        this down.    And bring up what is not in evidence as Defendant's

5        Exhibit 127.    And do you see that, Defendant's Exhibit 127?

6        A.    Yes, I created this.

7        Q.    And how did you create this?

8        A.    By going to completeDNS.com, I believe is their -- is

9        their domain name.     And then typing in BitcoinFog.com and this

10       is what I described earlier as like a Way Back Machine or

11       archive.org, but specifically for DNS records.

12       Q.    And do you find the -- what is this Complete DNS it is

13       called?

14       A.    Yes.

15       Q.    To be an accurate and reliable source for DNS record

16       information?

17       A.    Yes, it has been.     And I have seen it used in other cases

18       as well.

19       Q.    And do law enforcement and the public use Complete DNS to

20       look up DNS records, if you know?

21       A.    Again, I can't speak to the public, but I have seen law

22       enforcement use this.

23                    MR. EKELAND:   Your Honor, at this point in time the

24       defense would like to offer what has been marked for

25       identification as Defendant's Exhibit 127 into evidence?
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1                    THE COURT:    Any objection?

2                    MS. PELKER:    No objection.

3                    THE COURT:    Defendant's Exhibit 127 is admitted and

4        may be published to the jury.

5                    (Whereupon, Defense Exhibit No. 127 was admitted.)
6        BY MR. EKELAND:

7        Q.    Mr. Fischbach, is this what -- the exhibit you just

8        mentioned when we were talking about the domain name

9        registration?

10       A.    This is what I referred to when I was trying to obtain

11       more information about what the last change was in December of

12       2023.

13       Q.    Could you just take us through this document and explain

14       in lay person's terms what it means what you see in this

15       document?

16       A.    Yeah.   This is -- again, very like the way I described --

17       hopefully well described Who is.        I'm sorry.     Way Back,

18       archive.org.    This is also kind of an opportunity to go back

19       through the history of in this case just the domain

20       registration from where it was pointing, so what we would see

21       is like on September 2nd, 2011, would be the first time there

22       was a record made.     That doesn't mean it happened on the day,

23       but that is the first day that it was preserved that the name

24       service pointed to highhosting.net.

25             And it is typical when you will see four different servers
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1        like that -- I would prefer four.        I think I do have four.          It

2        just -- each one is basically a backup or a fail over for the

3        other.   So it means if one of those goes down, your website

4        won't go down because it doesn't know where to point.                 There is

5        a duplicate copy of where your website should be pointing to.

6        So that would have occurred sometime prior to September 2nd,

7        2011, which is consistent with the Who is record.

8        Q.    And if we could just scroll down.         It is -- so am I

9        understanding correctly that this is just a history of the

10       servers that hosted the BitcoinFog.com clearnet site?

11       A.    Basically, it is a little bit more nuanced than that.               It

12       is not like it is saying exactly which server it is.             But you

13       can ascertain that from this.       What it is basically saying is

14       where the name servers were pointing, what it was pointing to.

15             So if you look at the second one, sometime around

16       February 2nd of 2012, there would have been a change of the

17       name servers, which would be indicative of the server moving

18       somewhere else, to a different service.          And that would have

19       been hosted by main -- well, it would have used the

20       mainnameserver.com DNS system pointing to it.            That doesn't

21       mean where it was hosting, but it means that wherever they were

22       hosting, that is what they were using as a service to redirect

23       traffic to the appropriate IP address.

24       Q.    Can just anybody change the service that you are using for

25       your website?
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                         DIRECT EXAMINATION OF MR. FISCHBACH                   85

1        A.    No.   It is -- specifically, if you could, I don't think

2        Google would still be online today.         It is made very difficult.

3        Q.    So what would somebody need in order to change the

4        servers?

5        A.    They would have to know who the registration was held

6        with.   And that can be moved, so even if you do use, you know,

7        cheapnames.com, you can later say, I don't like that company or

8        they raised their prices or something like that and you could

9        move it to GoDaddy and there is a process for that.             But you

10       would have to know where it was currently sitting.             And by the

11       way, that process is harder than moving your phone number.             It

12       is just a very, very difficult process, because there is a lot

13       of checks.    They want to make sure nobody is stealing your

14       domain name.    Because, quite frankly, they can be worth an

15       awful lot of money.

16             Imagine if you owned Google.com, imagine what you could

17       sell a domain name like that for.        It is a long process.        It is

18       generally several days to move it back and forth, checking to

19       make sure you are authorized to do it.          Yeah, that is what

20       occurred here.

21       Q.    Would you need a username and a log-in, in order to do

22       this?

23       A.    You would have to know where it is currently hosted.            And

24       you would have to have the username and log-in to get there.

25       And then if it has what is called two-factor authentication,
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                         DIRECT EXAMINATION OF MR. FISCHBACH                   86

1        which is like the key that I showed you or a code generator

2        that you could have on your phone or typically they will have

3        to like send a message to a cell phone number that is

4        authorized on the account.      And you will have to okay it and

5        you will have to authorize it.

6        Q.    In your review of Mr. Sterlingov's devices and the

7        discovery in this case, did you see a username or log-in that

8        would allow Mr. Sterlingov to make the changes documented in

9        Defendant's Exhibit 127?

10       A.    I have seen nothing.

11       Q.    And in your review of Mr. Sterlingov's devices and the

12       discovery in your case, did you find any reference to any of

13       the servers listed here?

14       A.    No, I found no reference.

15       Q.    If you could take us through the history of the rest of

16       these server changes.

17       A.    So once somewhere in 2012, sometime prior to December 4th,

18       the name servers were changed again.         And then a final time --

19       maybe not a final time, the final name servers that exist in

20       the records would have been November 16th of 2014.             And it is

21       then changed to webhostbox.net along with some additional

22       backups.   And then finally on October 5th, 2022, it recorded a

23       record that the name servers were entirely removed.

24       Q.    What does that mean, that the name servers are entirely

25       removed?
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                         DIRECT EXAMINATION OF MR. FISCHBACH                   87

1        A.    It just means that it -- it no longer has a website to

2        point to it.    It is no longer pointing anywhere.          It is -- I am

3        trying to remember the term that they like to use.             It slips my

4        mind.   Effectively what you are doing is holding the domain

5        name.   You own it, maybe you are going to use it, maybe you are

6        going to sell it, but it is not currently active to a website.

7        But it could still be looked up today, as we know because I

8        looked it up today.

9        Q.    Is that a change where it says the domain drop, name

10       servers removed is that a change that somebody has to actually

11       initiate or does it just happen?

12       A.    No, it will not just happen by expiration or anything like

13       that.   So, for example, if you were to stop paying a server

14       bill, your traffic will still go to wherever that server is,

15       just because you didn't pay the bill, they are just not going

16       to answer it.    But effectively it would be almost like an

17       unanswered phone call.      In this case, it is not going anywhere.

18       It just stops right at wherever it is registered.             You will get

19       a broken page.

20             But if you don't change that, then it goes to where it was

21       previously hosted.     But in all likelihood, the hosting provider

22       who you were paying just took that server offline so you will

23       see nothing.

24       Q.    If I am understanding you correctly then that somebody

25       actually made a change to drop the domain here; is that
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                         DIRECT EXAMINATION OF MR. FISCHBACH                    88

1        correct?

2        A.    Yes, that is what occurred here.         Not to drop the domain

3        name.   The domain name is still in effect today as of today.

4        But somebody on October -- well, prior to October 5th, 2022,

5        just went and took it offline.        It would have been the way this

6        service works, it would have been within a few days of

7        October 5th.

8        Q.    This was about a year and a half after Mr. Sterlingov was

9        arrested?

10       A.    That is my understanding.

11       Q.    We can take this down.        And then did you review the

12       discovery and Mr. Sterlingov's devices in relation to his To

13       the Moon server?

14       A.    The VPN server, yes, I reviewed that.

15       Q.    And you say it is a VPN server.         What -- can you explain

16       what a VPN server is again?

17       A.    Sure.   A virtual private network, basically used for

18       security.     I highly recommend them.       And it just basically

19       encrypts all of your internet traffic, just automatically.              So

20       your bank should do it already.         So when you log in to check

21       your bank statements or your credit card statements, anything

22       like that, you should see a lock closed on your browser, some

23       indication that you have security.         What this does is gives you

24       that security with everything you do on the internet.

25       Q.    And you heard Ms. Mazars' testimony about the To the Moon
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                         DIRECT EXAMINATION OF MR. FISCHBACH                   89

1        server?

2        A.    I did.

3        Q.    And you reviewed her reports?

4        A.    I did.

5        Q.    And in her reports, did she discuss the hard drives on

6        those servers?

7        A.    Yes, she did list the hard drives.

8        Q.    And I -- did you hear the testimony of Mr. Price saying

9        that he thought one of the hard drives was wiped?

10       A.    I heard that testimony, yes.

11       Q.    And did you in your review find anything that would lead

12       you to believe that one of the hard drives was wiped on that

13       server?

14       A.    There is no evidence that the hard drive was wiped at all.

15       That is absolutely misstating what the evidence is.

16       Q.    And what, if any, is your opinion of the one hard drive

17       that was alleged to have been wiped?

18       A.    It is just a blank hard drive.        That could mean it was

19       just never set up and never configured.          It certainly could

20       be -- there is no denying that it could be that somebody chose

21       to wipe it with zeros.      I will tell you forensically, that is

22       not the appropriate way to wipe a hard drive.            That is not your

23       best -- if you are trying to really clear the hard drive

24       entirely, that is not the DOD standard which when on the wiping

25       software --
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1                   MS. PELKER:     Objection, Your Honor.

2                   THE WITNESS:     I'm sorry.

3                   THE COURT:    I am not sure the DOD standard is

4        relevant here.

5                   MR. EKELAND:     We can move on.

6                   THE COURT:    Overruled.

7                   THE WITNESS:     Maybe I can explain that and then I

8        think I might -- the government might prefer that I just

9        clarify.   I am not citing that I know the DOD standards.              What

10       happens is in all of the forensic software and specifically the

11       forensic hardware that I share with the government and I use

12       mostly the same hardware and software --

13                  MS. PELKER:     Objection, Your Honor.

14                  THE COURT:    Sustained.

15                  MS. PELKER:     There is no question.

16                  THE COURT:    Yeah.      There is not even a question

17       pending.

18       BY MR. EKELAND:

19       Q.    Did you review -- did you hear the testimony about the P

20       cap surveillance on the To the Moon server?

21       A.    I did, yes.

22       Q.    Did you review any records in relation to the P cap

23       surveillance?

24       A.    I did.   I saw the P cap record surveillance.

25       Q.    Can you just briefly explain to the jury what P cap is?
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                          CROSS-EXAMINATION OF MR. FISCHBACH                    91

1        A.    So it is a packet capture.        I think I have used that term

2        at least earlier today or yesterday.          But basically a packet --

3        well, when I was discussing the packet sniffers.             Everything

4        that you send through the internet is not sent the way we see

5        it like instantaneously.      It just happens to be happening so

6        fast that it feels instantaneous.         But what it is actually

7        doing is it is breaking -- like a full web page is broken into

8        multiple parts as packets.        And they might be sent to you the

9        same way.    They could move all around the globe in different

10       ways before they get to you and reassemble.            It just happens so

11       fast it seems seemless to us.        So these are the packets.

12             And those can be, as they were here, those can be sniffed

13       on an open network.      You can -- sniffing being the term that is

14       used.   You can actually see them -- in an unencrypted network,

15       you can see what those are.

16       Q.    In your review of the P cap information, did you see

17       anything that specifically referenced Bitcoin Fog?

18       A.    No, there was nothing related to Bitcoin Fog in the packet

19       capture.

20                   MR. EKELAND:    I pass the witness.

21                   THE COURT:    Okay.     Cross-examination.

22                                  CROSS-EXAMINATION

23       BY MS. PELKER:

24       Q.    If we could pull up Defendant's Exhibit 127.             Now,

25       Mr. Fischbach, you testified regarding what can -- who can
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1        cause a change to the DNS status.        Do you recall that?

2        A.    Yes.

3        Q.    In fact, doesn't the registrar have an important role in

4        DNS records?

5        A.    They maintain them.

6        Q.    And so, in fact, doesn't the registrar have the ability to

7        drop you from a registrar?

8        A.    Like to expire your account?

9        Q.    If they decide they don't want to do business with a

10       customer, can't they in fact drop that customer off of the

11       registration for a domain?

12       A.    They can stop providing service, yes.           That doesn't make

13       the record go away, but it does make the service go away.

14       Q.    But the registrar does have the ability to change and

15       update the DNS record?

16       A.    I wouldn't -- no, I would not say that.           I mean,

17       theoretically that is like saying the bank has the ability to

18       take money out of your account.        They could.      I mean they have

19       more control over it than the user does.             But that is not the

20       registrar's role.     I think they would probably get a lot of

21       blow back if they were changing people's records.              When they

22       drop you, they just simply remove you from their service.              They

23       are no longer providing service to you.

24       Q.    In fact, isn't it quite common for registrars to -- if one

25       of your requirements when you are signed up to a registrar is
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1        to respond to abuse complaints?

2        A.    Yeah.   I mean, I think there is generally some language

3        like that in there.

4        Q.    And that when you are registering a domain, one of the

5        things you have to put in for your Who is information, either

6        in the public Who is or with the registrar, is to write a

7        contact for those abuse-related requests to go to?

8        A.    That is correct.

9        Q.    And, in fact, wouldn't it be difficult to respond to abuse

10       requests for a domain if you are sitting incarcerated?

11       A.    Well, I would certainly think -- well, I would think it

12       would.   Yeah, I wouldn't expect that you would necessarily have

13       access to that.

14       Q.    And, in fact, haven't registrars taken steps to

15       de-platform criminal domains?

16       A.    I want to be careful, because this sounds like something

17       the government would not want me to opine to.            But I do

18       understand that the government has caused the effect of having

19       websites taken offline.      But it is not -- that is not exactly

20       the same thing as changing the record.

21       Q.    And are you aware that mixers are currently being --

22       facing quite a fair amount of scrutiny, not just in criminal

23       prosecutions but in the regime of sanctions?

24                  MR. EKELAND:     Objection.

25                  THE COURT:    What is the objection?
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1                   MR. EKELAND:     Relevance and outside the scope.

2                   THE COURT:    Overruled.

3                   THE WITNESS:     Could you unpack for me the regime of

4        sanctions, just so I answer it appropriately?

5        BY MS. PELKER:

6        Q.    Are you aware that many mixers are currently being

7        sanctioned due to the facilitation of payments tied to North

8        Korea's WMD program?

9        A.    Well, to be honest, I don't know that I was aware of that

10       prior to this case.     But as a result of this case, I have now

11       seen people here on the stand that have lost their mixers or --

12       an individual who lost his mixer for that purpose.

13       Q.    So you are aware that there is quite a lot of government

14       scrutiny regarding the mixers as well as services that are

15       facilitating the mixers?

16                  MR. EKELAND:     Objection.

17                  THE COURT:    What is the objection?

18                  MR. EKELAND:     It is vague and ambiguous as to quite a

19       lot and I also think it was compound.

20                  THE COURT:    Overruled.

21                  THE WITNESS:     Only by way of this trial.         I only know

22       what I have seen through this trial.

23       BY MS. PELKER:

24       Q.    And are you aware that a domain registrar depending on the

25       service they are offering, could be concerned about criminal
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1        exposure if they continued to offer a domain tied to different

2        mixing platforms?

3                    MR. EKELAND:     Objection; calls for speculation,

4        outside the scope.

5                    THE COURT:    Overruled.

6                    THE WITNESS:     I want to be careful not to answer this

7        with a legal opinion, but, no.

8        BY MS. PELKER:

9        Q.    Are you aware this could be a concern?

10       A.    No.   I want to be clear, they should not have any

11       exposure, because they should be like the phone company.               If

12       you are committing a crime using the phone, they don't have

13       exposure.    Verizon isn't going to get in trouble because you

14       sell drugs on their network.

15       Q.    So you are aware --

16       A.    I want to make sure I answer that properly.            They don't

17       have exposure.       I have represented companies with that.           They

18       don't have exposure.

19       Q.    Again, I am not asking about the legal opinion.             Again, in

20       a strict liability sanctions regime, you are aware that

21       companies that are facilitating activity including domain

22       registrars, could be concerned about their liability if they

23       were seen as facilitating this type of activity?

24                   MR. EKELAND:     Objection.

25                   THE COURT:    Overruled.     I think that is --
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1                   THE WITNESS:     Again, I think you are asking me for

2        what is going to amount to a legal opinion based on almost 30

3        years of experience, the answer is, no, I have seen no

4        liability.

5                   THE COURT:    So I -- I will let you rephrase the

6        question, because I don't think that is what the question was.

7        BY MS. PELKER:

8        Q.    And, again, I would ask you to listen carefully to the

9        question here, Mr. Fischbach.       I am not asking you about

10       criminal liability for narcotics trafficking or even for CSAM.

11       But in a mixer in a sanctions regime, are you aware that domain

12       registrars can be concerned they could, in fact, face serious

13       liability and they may have reputational harm from being seen

14       as facilitating mixing?

15                  MR. EKELAND:     Objection, compound.

16                  THE COURT:    Why don't you break that down into two

17       questions?

18       BY MS. PELKER:

19       Q.    Are you aware that registrars may be concerned both

20       legally and/or reputationally with being seen as facilitating

21       mixing?

22       A.    Again, I feel like that is two questions, so I will answer

23       it in two parts.     Again, you are asking me the liability or the

24       legality aspect of it.      Through the cases that I have worked

25       and the attorneys that I have worked for, it doesn't appear
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1        they have actual liability for it.

2              Sure, I'd suppose if you became known as the child

3        pornography registration company, that would be a horrible

4        reputation to have.     But my experience in working on cases with

5        registrars who have had various lawsuits and legal things to

6        deal with has just been that what they're primarily interested

7        in is cooperating with the government, because they just

8        frankly don't want to have to deal a lot with the government.

9        Q.    In your cases that you are working on are not sanctions,

10       strict liability cases, is that fair to say?

11       A.    I have definitely worked on both.         I do more work in

12       criminal, but I certainly have plenty of legal civil liability

13       cases as well.

14       Q.    So I am asking you, that your cases are not dealing with

15       sanctions imposed by the Office of Foreign Assets Control, like

16       the ones that are imposed regarding mixers?

17       A.    Okay.   I think that makes it clearer for me.           You are

18       asking me specifically if that organization has been a part of

19       any of the work that I have done?

20       Q.    Correct.

21       A.    Not that I specifically recall.        It is possible and just

22       wouldn't have been necessarily a part of my purview, because

23       that sounds more like that would be the attorney's purview.

24       Q.    And, Mr. Fischbach, can't registrars implement changes to

25       the domains that are under their own control?
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1        A.    I mean, again, what they can -- a registrar --

2        Q.    I am just asking you whether a registrar can implement

3        change to a --

4                   MR. EKELAND:     Objection, Your Honor.        He hadn't

5        finished answering, Your Honor.

6                   MS. PELKER:     We are just trying to get an answer to

7        the question.

8                   THE COURT:    Why don't you put the question again.

9        That is fine.

10       BY MS. PELKER:

11       Q.    Can't registrars implement changes to the domains that are

12       under their control?

13       A.    Again, it is not what I see.       But I don't see any reason

14       why that is not a possibility, since it is in their control.

15       Q.    And, Mr. Fischbach, you testified about kill switches.               A

16       kill switch for a service can exist on the server itself

17       operating that service; isn't that correct?

18       A.    I'm sorry.     Could you restate the question?

19       Q.    Can't a kill switch for a service exist on the server

20       itself that is hosting that service?

21       A.    Not only can it, that is typically how it would work.

22       Q.    And you haven't reviewed the Bitcoin Fog server at least

23       in any sort of readable format?

24       A.    To my understanding nobody has seen the Bitcoin Fog

25       server.   So, yeah, that is a -- I don't think you meant that as
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1        a trick question.     But if it was available to me, I most

2        certainly would have reviewed it.        But, yeah, so there is no

3        way to know that.

4        Q.    So you don't know whether or not there was a kill switch

5        on the Bitcoin Fog server?

6        A.    The only thing that I know is that there is no indication

7        that Mr. Sterlingov triggered a kill switch.           There may have

8        been one on the server, but there is no indication that

9        Mr. Sterlingov triggered one or, as many kill switches will

10       work, would have caused to not trigger.

11             So sometimes the way it will work is it will trigger

12       itself after a period of time.       But then he would had to have

13       logged in regularly.     And I found no evidence of those log ins.

14       Q.    And a server can continue running for a -- depending on

15       the service, for a day or two without active intervention, that

16       is possible?

17       A.    A server could continue to operate for years.            I mean, if

18       all of humanity disappeared, the servers would keep going until

19       the electricity ran out.

20       Q.    If we could pull up Exhibit 720.

21             Mr. Fischbach, I believe you testified about this is a

22       command or connection.      Isn't this a VNC configuration file?

23       A.    Yes, that is what it appears to be.

24       Q.    And going to 722, I believe you testified this related to

25       Telnet commands.     Isn't this in fact a Putty settings file?
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1        A.    Yes.   If you scroll down there is a Telnet command in

2        there.

3        Q.    Understood.     But what this file actually is, is a Putty

4        settings file that are setting up the settings?

5        A.    It is -- yes, it is -- it is setting the log file.

6        Q.    And Exhibits 720, 722, several of the others that defense

7        showed you, those are settings or configurations for remote

8        connections; is that correct?

9        A.    I would have to see the specific ones you are speaking of,

10       but I do want to make sure I am clear here.            I think we are

11       mischaracterizing this as a Putty -- the fact that it is named

12       Putty log.    This isn't a Putty file, it is just referring to

13       the Putty log.

14       Q.    720 and 722, the exhibits that are shown, are related to

15       remote connections; is that correct?

16       A.    720 was the one you just previously showed me?

17       Q.    Yes.   We can pull it up here.

18       A.    It is, yes.     VNC is made for remotely logging into a

19       machine.     But it is important to understand that remotely

20       doesn't have a distance.      It can be literally, you know, the

21       computer next to you at your desk.         It is just this is a

22       terminal --

23                    THE COURT:   I'm sorry to interrupt.

24                    Just for cross-examination, if you could listen and

25       answer her questions and then Mr. Ekeland will have a chance to
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1        ask you further questions in response.            But you should listen

2        to her questions and make sure you are responding to those.

3                    THE WITNESS:    Yes, Your Honor.           I may have to have

4        some of them restated, because they feel a little compound, so

5        I am trying to be careful to answer completely.

6        BY MS. PELKER:

7        Q.    The question is just:         These files pertain to remote

8        connections; isn't that true?

9        A.    These files -- I will be specific.               These files refer to

10       the use of a terminal that can be used for remote connection.

11       Q.    And you have not reviewed the devices that are being set

12       up to be connected to?

13       A.    While I don't know that they are not the Raspberry Pis

14       that are here, which I have asked to see.               But I don't know --

15       if they are those devices, then, yes I would have liked to have

16       looked at them.      If there are other devices, I don't know.

17                   MS. PELKER:    Your Honor, I don't know if we need

18       to get on the phone for this.--

19       BY MS. PELKER:

20       Q.    Mr. Fischbach, all of the devices were made available to

21       you and to the defense for the last several years of this case;

22       isn't that true?

23       A.    But not to log in.     I had requested to --

24                   THE COURT:    All right.

25                   MS. PELKER:    I will move on, Your Honor.
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1                    THE COURT:    Questions relating to the discovery

2        process, are -- those are questions for me to resolve.                  And

3        they are not questions for the jury.          And anything -- any

4        issues that anyone has with respect to discovery, they can

5        raise with me and I will address those issues and they are not

6        questions for the jury.

7        BY MS. PELKER:

8        Q.    Mr. Fischbach, you haven't reviewed any of the -- any home

9        desktop computer or server located back in Sweden; is that

10       correct?

11       A.    That is correct.     I have not been to Sweden, ever I think.

12             I may have briefly driven near.

13       Q.    There is no question before you, Mr. Fischbach.

14             If we could pull up Exhibit 523A.         Scrolling down,

15       Mr. Fischbach, you do agree that this is a zeroed out hard

16       drive?

17       A.    I'm sorry.     A zeroed out hard dive?

18       Q.    There is no data on this hard drive?

19       A.    There is no data on this hard drive, at least not -- well,

20       again, I haven't reviewed the hard drive myself.              But what is

21       represented here is no data.

22       Q.    Turning now to your discussion of IP addresses.

23             Mr. Fischbach, you agree with Ms. Mazars that people who

24       are not criminals do use VPNs, proxies and Tor; correct?

25       A.    It feels like a backwards question.            But you are asking me
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1        if I agree that ordinary people use VPNs?

2        Q.    You agree with Ms. Mazars' testimony that noncriminals do

3        use those services?

4        A.    I would agree that noncriminals do use those services.

5        And if that was her testimony then, yes, I agree.

6        Q.    Wouldn't you also agree that one use of VPNs, proxies and

7        Tor are to conceal someone's location or identity?

8        A.    Certainly.     I mean, that is -- yes, that is a part of what

9        they are designed for.

10       Q.    Isn't it true that some criminals use Tor and VPNs and

11       proxies?

12       A.    In general, I am assuming they would.

13       Q.    And not just in general, but in your experience haven't

14       you seen criminal defendants use Tor, VPNs and proxies?

15       A.    You asked me if criminals do, not criminal defendants.

16       Yes, I have seen criminal defendants use Tor.

17       Q.    Is one of the purposes of using those services to mask

18       your IP address?

19       A.    It is what it is specifically designed to do.            That is why

20       I use it.

21       Q.    And is one benefit of that to criminals because an IP

22       address can sometimes be used in an investigation to identify

23       and locate individuals?

24       A.    Absolutely.

25       Q.    And you would agree that law enforcement does use IP
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1        addresses as one of a set of different data points of interest

2        when investigating a case?

3        A.    I have definitely seen IP addresses as part of criminal

4        cases, yes.

5        Q.    Mr. Ekeland asked you regarding how many -- regarding the

6        use of VPNs and different server configurations.             The number of

7        people who can use a VPN at one time or share a proxy server

8        may depend on the specific setup and configuration of that

9        server or service; isn't that true?

10       A.    That is absolutely true.

11       Q.    And the number of people sharing that server may vary

12       depending on the service and how the servers are set up?

13       A.    That is correct.

14       Q.    Mr. Fischbach, if one person accessed two different

15       accounts from the same computer at the same time, without

16       taking additional steps, isn't it true that the same IP address

17       would likely appear in the access logs for each account?

18       A.    Again, I want to make sure I am following your question.

19       You are asking me if a person is using their computer and they

20       do two different things on their computer, would it provide the

21       same IP address?

22       Q.    Yes.

23       A.    Minus a VPN or something like that, yes.           That is correct,

24       you would consistently use the same IP address.

25       Q.    And the access logs for those two accounts would show the
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1        same IP address?

2        A.     Yes.   So if you were reaching your -- if I just want to

3        make sure I understand you.         If you were reaching your email

4        and you're going on Facebook, then your email provider and

5        Facebook should see the same IP address, even if it was a VPN.

6        Q.     And even if you were using a VPN or Tor, if you logged

7        into those two accounts from the same device around the same

8        time, each account would likely record that IP address in the

9        log?

10       A.     Yes.   Yeah, that -- again that is what is happening here,

11       we are all logging the same IP address.

12       Q.     That is true even when you use a VPN or Tor, assuming you

13       haven't changed the settings in between?

14       A.     No.    Unfortunately there I have to disagree.            With the

15       VPN, yes.     With the Tor, no.     All of your Tor connections will

16       reroute constantly as you are using it.               So it will be a

17       different IP address all of the time.

18       Q.     If you haven't changed the particular circuit that you are

19       using for connections or changed any sort of routing?

20       A.     No.    Even if you don't -- if your Tor is properly

21       configured then you should be changing IP addresses frequently.

22       Q.     The routing will change, but even if you are using Tor, it

23       will be a Tor exit node that will show up in the access logs

24       for the server?

25       A.     Yes.   But not necessarily the same access log
     Case 1:21-cr-00399-RDM   Document 289    Filed 03/16/24   Page 106 of 141
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1        consistently -- I'm sorry -- the same exit node.              So that is

2        the whole idea is that everything randomizes.

3        Q.    And, Mr. Fischbach, you are aware that there is a

4        difference between using the Tor browser to browse clearnet

5        sites and running a Tor hidden service?

6        A.    I'm sorry.     And running a --

7        Q.    Running a Tor hidden service?

8        A.    Running a Tor hidden service.         I mean, the difference

9        between running and using it, yes.          I mean, certainly it is

10       different to be a user than to run a server.

11       Q.    And that you can -- there is a difference between using

12       Tor to browse clearnet sites with the protection of Tor and

13       with accessing or operating a Tor hidden service site?

14       A.    Can you rephrase that?        Because I am not sure the way you

15       are asking that question.

16       Q.    Mr. Fischbach, you can access clearnet sites through Tor;

17       is that right?

18       A.    Yes, you can.

19       Q.    You can also access or run Tor hidden service sites

20       through Tor?

21       A.    That is the only way to access them, yes.

22       Q.    And you are aware that criminals set up and use Tor hidden

23       services?

24       A.    What was the end of that sentence?

25       Q.    Criminals set up and use Tor hidden services?
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1        A.     Oh, Tor hidden services.       Again, by way of this case, I

2        have certainly seen at least one person testify that is what he

3        did.

4        Q.     Mr. Fischbach, you have had numerous cases involving the

5        darknet, isn't that true?

6        A.     Involving the darknet?

7        Q.     Yes.

8        A.     You mean, involving Tor services onion routers, that sort

9        of thing?

10       Q.     Yes.

11       A.     I have, yes.

12       Q.     And does that include multiple cases where you have been

13       retained by defendants accused of possession or distribution of

14       child sexual abuse material that was tied to Tor hidden

15       service?

16       A.     No.    Typically, no, because those would be much harder to

17       track.    Typically those are individuals who get them through

18       the clearnet, which is why they are caught.

19       Q.     You are aware that there are sites on Tor hidden services

20       that distribute child sexual abuse material?

21       A.     I believe at least through the media I was aware of that

22       in terms of Silk Road.

23       Q.     Mr. Fischbach, you testify in hundreds of cases involving

24       child sexual abuse material; isn't that correct?

25       A.     Yeah, hundreds is probably about right.
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1        Q.    And your testimony is that you are not aware that darknet

2        Tor hidden services sites are used to distribute child sexual

3        abuse material?

4                    MR. EKELAND:    Objection.

5                    THE COURT:    What is the objection?

6                    MR. EKELAND:    Argumentative.

7                    THE COURT:    Overruled.

8                    MR. EKELAND:    Asked and answered.

9                    THE WITNESS:    I am aware that a -- again, I am trying

10       to be careful, because you are asking me from my work whether I

11       concluded that somebody has done a criminal activity.

12       BY MS. PELKER:

13       Q.    I am well -- without drawing any conclusions about whether

14       possessing or distributing child sexual abuse material is

15       criminal, are you aware that there are Tor hidden services that

16       purport to offer and offer child sexual abuse material for

17       sharing and downloading?

18       A.    I am aware that is certainly purported, yes.            Yes.

19       Q.    Purported.     Are you aware of a 2015 study showing the vast

20       majority of traffic on Tor hidden services was tied to child

21       sexual abuse dark markets and bot nets?

22                   MR. EKELAND:    Objection.

23                   MS. PELKER:    The witness is testifying about the use

24       of the Tor network.      I think this is fair cross.

25                   MR. EKELAND:    This study wasn't disclosed to the
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1        defense.

2                    MS. PELKER:    I am asking whether he is aware of it.

3                    THE COURT:    She is asking the --

4                    Overruled.

5                    THE WITNESS:    No.     Until you asked the question, I

6        have not seen that article.

7        BY MS. PELKER:

8        Q.    Are you aware of a similar finding that over 80 percent of

9        hidden service traffic around that time was related to viewing

10       child sexual abuse material?

11       A.    I have most certainly have not heard that, no.

12       Q.    Are you familiar with the former hidden services Play Pen?

13       A.    I am familiar with the name.

14                   MR. EKELAND:    Objection; relevance.

15                   MS. PELKER:    We can move on.

16                   THE COURT:    If you want to move on --

17                   I just do want to remind the jury that questions are

18       not evidence in a case.

19       BY MS. PELKER:

20       Q.    And are you familiar with the site Welcome to Video?

21       A.    Again, through this case.

22       Q.    You are aware that Welcome to Video was a site operating

23       on the darknet distributing child sexual abuse material?

24       A.    Again, I didn't work that case, but I understand that that

25       is what the government was able to conclude from their
     Case 1:21-cr-00399-RDM   Document 289   Filed 03/16/24   Page 110 of 141
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1        investigation.

2        Q.    Mr. Fischbach, you testified regarding static versus

3        dynamic DNS.     Do you recall that?

4        A.    Yes.

5        Q.    Now, setting up a dynamic DNS to call back to a particular

6        device, that is what you testified to regarding the log that

7        you reviewed from Mr. Sterlingov's computer?

8        A.    The one that had the ignorelist.com status, yes, that is a

9        dynamic DNS.

10       Q.    That sort of ignorelist can be used to configure to access

11       a particular device that may have a changing IP?

12       A.    Well, the device wouldn't have a changing IP, but the --

13       this would be because your modem can be assigned an IP from

14       your service provider.

15       Q.    And you testified -- can you set up your dynamic DNS to

16       also configure to allow connections to -- can you set up your

17       dynamic DNS to allow connections to a server that is also

18       operating a website?

19       A.    Yeah.   If I understand what you are asking me, you are

20       asking, can you have a home website server?

21       Q.    Yes.

22       A.    Sure.   You could certainly set up a home website server.

23       Q.    And, Mr. Fischbach, you have experience with registering

24       web domains?

25       A.    I do.   I have website domains, yes.
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                          CROSS-EXAMINATION OF MR. FISCHBACH                    111

1        Q.    You are aware there are different ways to pay for web

2        domains?

3        A.    Yes, I am aware.

4        Q.    And credit cards are one way to pay?

5        A.    I would imagine there is probably a study that is the

6        majority of the way that it gets paid.

7        Q.    There are different registrars and hosting companies?

8        A.    Yes, there are several.

9        Q.    And different registrars and hosting companies have

10       different features?

11       A.    I am not sure what you are describing as features.               But I

12       know they advertise differently.        But in the end they basically

13       operate the same way.

14       Q.    They offer different services, different sizes available,

15       different speeds to their users?

16       A.    I think we are talking -- are we still talking about

17       registration?

18       Q.    For hosting companies.

19       A.    Oh, for hosting companies.

20       Q.    The question was hosting companies -- different

21       registration and hosting companies have different features.

22       A.    Okay.   My apologies.    I thought you were just talking

23       about registration.      So different hosting companies will

24       typically offer to you different sizes and speeds at different

25       prices, typically, bigger, faster, more expensive; slower,
     Case 1:21-cr-00399-RDM   Document 289    Filed 03/16/24   Page 112 of 141
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1        smaller, less expensive.

2        Q.    And different payment methods offered as well for hosting

3        companies, similar registrars?

4        A.    Yes.   I am sure I have seen pull downs to -- typically my

5        credit card has been memorized in there for years, but I am

6        sure I could change it to something else.

7        Q.    And operating a site as a Tor hidden service can conceal

8        the location of that server; isn't that correct?

9        A.    Operating a website as a Tor -- I mean, that is -- yes,

10       you would not know where an onion website is physically

11       located, correct.

12       Q.    And, Mr. Fischbach, isn't it true that you consider

13       yourself more than just a testifying computer forensics expert?

14                    MR. EKELAND:   Objection.

15       BY MS. PELKER:

16       Q.    You have described yourself as more than just a testifying

17       computer forensic expert?

18                    MR. EKELAND:   Objection; relevance.

19                    THE COURT:   Overruled.

20                    THE WITNESS:   I am not quite sure what you are asking

21       about.    If you are asking if that is all that I do, I certainly

22       do a lot more than testify.         I consult with attorneys as well.

23       BY MS. PELKER:

24       Q.    And have you described yourself as engaging in strategic

25       litigation?
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1        A.    Yes, absolutely.

2        Q.    You have been sitting at counsel table for the last

3        several weeks?

4        A.    I have.

5        Q.    And you assisted with jury selection and opening?

6        A.    As I typically do, yes.

7        Q.    And you assisted with -- defense counsel with the cross of

8        some of the government witnesses?

9        A.    Gosh, I don't know.     I am -- I have certainly been asked

10       questions regarding cross, yes.

11       Q.    You expect to help defense counsel with closing?

12       A.    I don't know.     I am not -- I have not been -- I have not

13       been asked to.

14       Q.    And when defense attorneys contact you, isn't it true that

15       you specifically tell them in that initial conversation not to

16       tell you anything that would be bad for their client?

17       A.    Well, most certainly, because I don't have privilege.

18       Q.    That is because you don't want to learn something that

19       could expose you to cross-examination?

20       A.    Well, I -- if I am being -- if I am being phone called --

21       and I get even people off the streets, not just attorneys.                 If

22       someone calls me by phone and wants to tell me what happened, I

23       don't want to become a witness to that.              I certainly don't.

24       Q.    And you also don't want the government to be able to

25       cross-examine you on information that may be adverse to the
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1        defendant; isn't that true?

2        A.    Well, yes and I also don't want to be dragged all over the

3        country to testify on cases I am not working on.

4        Q.    And, Mr. Fischbach, you have never actually testified for

5        the prosecution in a case; isn't that true?

6        A.    So far nobody has put me up.

7                    MS. PELKER:    The Court's indulgence.

8                    THE COURT:    Okay.

9                    MS. PELKER:    No further questions.

10                   THE COURT:    All right.    Redirect.

11                   Go for five minutes.

12                   MR. EKELAND:    Okay.

13                   THE COURT:    Let's get started.         If you need more

14       time, we'll break and come back.

15                   MR. EKELAND:    I will give it a shot and see if I can

16       do it in five.

17                   THE COURT:    Okay.

18                                 REDIRECT EXAMINATION

19       BY MR. EKELAND:

20       Q.    Mr. Fischbach, Ms. Pelker just asked you about, if I

21       recall correctly, registrars being able to -- now I have got

22       confused.    Can you explain in October when we were discussing I

23       think it was Defendant's Exhibit 127 in October of 2022, what

24       exactly happened to the DNS for BitcoinFog.com?

25       A.    According to the records, someone logged in and made a
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1        modification to the record.

2        Q.    And what was that modification, if you recall?

3        A.    It was to remove name servers, the domain name -- the DNS,

4        I'm sorry.

5        Q.    And you recall Ms. Pelker asking you if the registrar

6        could do that?

7        A.    Yes.

8        Q.    In the review of the records, did you find any indication

9        that the registrar actually did that?

10       A.    No.    And it would certainly be easy enough to find out.

11                    MS. PELKER:   Objection; move strike that last point.

12                    THE COURT:    Do you want to pick up for a second?

13                    (Conference held at the bench.)

14                    THE COURT:    All right.   Go ahead.

15                    MS. PELKER:   Your Honor, I think to the extent that

16       defense -- the defense witness is trying to -- is trying to

17       suggest here through his testimony, that the -- that the

18       dropping from the registrar is something that the government

19       then should have followed up on, defense provided these

20       exhibits to us indicating the dropped registrar without prior

21       disclosure.    We are not objecting to it.           We recognize it is in

22       the registration of the Who is lookup information.              But to the

23       extent the defense is now trying to turn this into something

24       that the government should have done.          If we had this exhibit

25       prior to Ms. Mazars' testimony, we would have had her testify
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1        to explain this.

2                    THE COURT:    I guess she can testify in your rebuttal

3        case, if you want, if she can do that.

4                    Does that resolve the issue?

5                    MR. EKELAND:    She hasn't been sequestered and she has

6        actually been in the room and watching the testimony.

7                    MS. PELKER:    She is an expert.         There is no

8        sequestration needed.

9                    THE COURT:    Your witness sitting on the stand has

10       been sitting at counsel table listening in on all of the

11       conversations and everything including private conversations

12       with counsel and the Court.

13                   MR. EKELAND:    He is an expert too.

14                   To that point, Your Honor, since we are getting to

15       lunch, if the Court is going to strike it, I'd like to just

16       keep his answer where I think he just said when I asked him,

17       did any -- did you come across any information that the

18       registrar did this and he answered, "no."            I'd like to keep

19       that in the record.      Because my understanding is the government

20       is not objecting to that.      They are objecting to the last part

21       of it where he said, it would be easy enough for the government

22       to look it up.

23                   MS. PELKER:    That is fine, Your Honor.

24                   THE COURT:    Again, my answer to this is as before.              I

25       don't have a problem with leaving the answer, if you want,
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1        Mr. Ekeland.     I just think the government can respond to it in

2        its rebuttal case.      If I strike it, maybe they are less likely

3        to call a rebuttal witness on this.          I don't know.

4                    MR. EKELAND:    I am fine with striking -- this is

5        redirect.    And, again, I wasn't trying to elicit this.                He just

6        said it.    I am fine with striking the last part and leaving his

7        answer as it was.      He said no and then whatever that last

8        sentence is, let's go ahead and strike it, if that works for

9        everybody.

10                   THE COURT:    All right.     Ms. Pelker.

11                   MS. PELKER:    That is fine.       Although the government

12       reserves the right to potentially seek leave to put on a

13       rebuttal case given this dropped DNS line of testimony.

14                   THE COURT:    Okay.     You have a right to put on a

15       rebuttal case and I don't take anything you say to give up in

16       any respect on that.      All right.

17                   (End of bench conference.)

18                   THE COURT:    So let me see.       Give me a moment here.

19                   So the last question was, in the review of the

20       records did you find any indication that registrar did that?

21                   And the answer was "No" and then there was a sentence

22       after that.    I am going to strike everything after the no, so

23       you should disregard everything after the no in the witness'

24       answer.    And it should play no role in your deliberations.

25                   MR. EKELAND:    Your Honor, we are at 12:30.
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1                    THE COURT:    And let's break for lunch at 12:30.               It's

2        12:30.    Come back at 1:30.        And, again, you can say it without

3        me, but don't discuss the case amongst yourself and don't do

4        any type of research relating to the case.                And I will see you

5        back at 1:30.

6                    (Jury out at 12:30 p.m.)

7                    THE COURT:    All right.      How much more time do you

8        think you will need?

9                    MR. EKELAND:    Maybe 10, 15 minutes.

10                   THE COURT:    So the only question I have is, if we

11       come back for 10, 15 minutes, I do want to voir dire

12       Mr. Sterlingov about whether he wants to take the stand or not.

13       I want him to have the benefit of having heard all of the

14       evidence before he makes that decision.                So do we need to come

15       back for 10 minutes and then take a break to do that?

16                   MR. EKELAND:    That is fine.        He is our last witness,

17       so I think that we are on track.          And that is fine with the

18       defense.    And then I have one other thing I want to add once we

19       check in with the government.

20                   THE COURT:    One more thing -- I am not sure what that

21       means.

22                   MR. EKELAND:    What is that?

23                   THE COURT:    I'm not sure what that means.              One more

24       thing --

25                   MR. EKELAND:    I just wanted to raise real quickly
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1        before the break in relation to the voir dire.

2                    THE COURT:      I'm sorry.    Say again?

3                    MR. EKELAND:      Excuse me.     In relation to the voir

4        dire, Mr. Sterlingov has asked me to ask the Court for

5        permission to testify about the fact that he has been in jail

6        for the last three years.

7                    THE COURT:      I can't really see a basis for that.           I

8        don't know what the government's view is on that.               But in other

9        cases, I have certainly not allowed that.              It is purely

10       appealing to issues that are not properly before the Court.                    I

11       understand that some of it was relevant to the operation of

12       Bitcoin Fog.     And that came in and that was fair.            But to the

13       extent that the suggestion is that he has already been punished

14       in some way, I think that is completely inappropriate.

15                   MR. EKELAND:      That is not why it is trying to be

16       brought in.    For instance, Mr. Fischbach just testified that it

17       looks like the domain was changed in October of 2022.

18       Mr. Sterlingov was in jail at that time and he did not have

19       access to his devices.        And also to the extent it comes up, if

20       the -- should the government cross on, you know,

21       Mr. Sterlingov's knowledge of all of his assets, one of the

22       issues is that he hasn't been able to do a thorough search from

23       jail.    I mean, so the issues I think that -- and this is why he

24       is asking me.        I understand where the Court is coming from --

25       to ask the Court is just in relation to what he actually could
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1        have done from jail in relation to Bitcoin Fog, you know, being

2        shut down, which we have stipulated already that for

3        Mr. Scholl's testimony that Mr. Sterlingov was in custody two

4        days later.

5                    Now we have the testimony from Mr. Fischbach about

6        the October 2022 change in the domain.          And he is just also

7        concerned about this issue coming up in relation to if he gets

8        questioned -- asked about, well, how come you don't know about

9        all of your assets?      And he is concerned that he is not going

10       to be able to say, well, I couldn't do a search, because I

11       didn't have access to --

12                   THE COURT:    What would he have wanted to do the

13       search?

14                   MR. EKELAND:    What?

15                   THE COURT:    What would he have wanted to do?

16                   MR. EKELAND:    Well, one of the things that has come

17       out is that government didn't get Mr. Sterlingov's home

18       computer in Sweden.      He didn't have access to that.          He didn't

19       have access to his apartment.        He didn't have access to a whole

20       host of things and then he is -- I mean, as I --

21                   THE COURT:    Well, let me let you talk to the

22       government about this in the first instance and bring it up

23       with me.    But there may be other solutions here.           So, for

24       example, if he wants to testify that he has been in the United

25       States and hasn't been able to leave the United States, that is
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1        a little bit different.      So if the concern is that he wasn't

2        able to go retrieve his computer in Sweden, that is one thing.

3        Although I have to say that is a little hard to get your head

4        around, because his mother is there and I take it there are

5        people who could have at his request brought the computer here,

6        so I am not sure how much weight that really covers anyway.

7                    MR. EKELAND:    His mother after what happened to

8        Mr. Sterlingov is actually, my understanding, afraid to travel

9        to the United States.

10                   THE COURT:    Somebody.     You could have gotten on a

11       plane and got there to get the computer.

12                   MR. EKELAND:    It is my understanding that I don't

13       even know the computer is there in the apartment anymore by the

14       time I got to the case.      I mean, there is -- it is curious to

15       me that his home laptop wasn't seized, but that is another

16       question.

17                   THE COURT:    Yeah.     So why don't I let you all talk

18       about this first among yourselves.

19                   The witness can take his break as well.            I just will

20       direct that you not discuss your testimony with anybody until

21       it is entirely complete.      And I will let you talk to the

22       government about this in the first instance and whether there

23       is some way to address the concerns.           And I guess we'll come

24       back and do 10 minutes and take a break and then I can have a

25       conversation with Mr. Sterlingov.
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1                    And then he can make his decision about whether he

2        wants to take the stand or not and then we can take it from

3        there.

4                    MR. EKELAND:    All right.     Thank you, Your Honor.

5                    (Recess taken at 12:35 p.m.)

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1                                 C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

7

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10                                   Dated this 6th day of March, 2024.
11

12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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